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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
 MARTIN J. WALSH, Secretary of Labor,      :
 United States Department of Labor,        :                  CIVIL ACTION NO. 21-0096
                                           :
                      Plaintiff,           :
                                           :
               v.                          :
                                           :
LOCAL 98, INTERNATIONAL                    :
BROTHERHOOD OF ELECTRICAL                  :
WORKERS,                                   :
                                           :
                      Defendant.           :
__________________________________________:

                                   AMENDED COMPLAINT

       Under Title IV of the Labor-Management Reporting and Disclosure Act of 1959

(LMRDA), 29 U.S.C. §§ 481–483, union members: (1) must be given a reasonable opportunity

to nominate candidates for union officer elections; (2) must be allowed to run for office if they

are members in good standing and meet the union’s reasonable qualifications; and (3) have the

right to vote for and support the candidates of their choice, all “without being subject to penalty,

discipline, or improper interference or reprisal of any kind by such organization or any member

thereof.” 29 U.S.C. § 481(e).

       Defendant Local 98, International Brotherhood of Electrical Workers (Defendant), by the

actions of its officers and members, intimidated and threatened the livelihoods of three of its

members who intended to seek or nominate others for office in its June 2020 election, causing

them to withdraw from doing so. As detailed below, this included dozens of calls to the potential

candidates from union members at the apparent direction of Defendant’s leadership and, in one

instance, a phone call directly from Business Manager John Dougherty in which he stated that,



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“It’ll be a long three years if you lose.” Defendant’s conduct delivered the message that running

as or nominating an opposition candidate to entrenched leadership would lead to the loss of jobs.

       Defendant’s conduct violated its members’ rights to nominate, be nominated, and vote for

or otherwise support the candidates of their choice without pressure or interference from

Defendant. As a result of Defendant’s violations, all races were uncontested, and no election was

held – instead, all incumbent officers were declared reelected without opposition.

       For these reasons, Plaintiff Martin J. Walsh, Secretary of Labor, brings this action under

section 402(c) of Title IV of the LMRDA, 29 U.S.C. § 482(c), for a judgment voiding the June 9,

2020, election of president and five executive board members, and directing Defendant to

conduct a new election, including nominations, under Plaintiff’s supervision.

                                            PARTIES

       1.      Plaintiff Martin J. Wash is the duly appointed Secretary of Labor, United States

Department of Labor. Plaintiff is authorized to bring this action under section 402(b) of Title IV

of the LMRDA, 29 U.S.C. § 482(b).

       2.      Defendant is a local labor organization engaged in an industry affecting

commerce within the meaning of sections 3(i) and (j) and 401(b) of the LMRDA, 29 U.S.C.

§§ 402(i), (j), 481(b). Defendant maintains its principal office at 1701 Spring Garden Street,

Philadelphia, PA 19130.

                                 JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this action pursuant to 29 U.S.C. § 482(b), 28

U.S.C. § 1331, and 28 U.S.C. § 1345.

       4.      Venue lies in this district pursuant to 29 U.S.C. § 482(b) and 28 U.S.C. § 1391(b).




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                            EXHAUSTION OF OTHER REMEDIES

        5.     Defendant, purporting to act pursuant to its bylaws and the International

Brotherhood of Electrical Workers’ (IBEW International’s) Constitution and Basic Laws and

Policies, conducted an election of officers in June 2020, and this election was subject to the

provisions of Title IV of the LMRDA, 29 U.S.C. §§ 481–483.

        6.     By letter dated June 16, 2020, to the IBEW Third District International Vice

President, Charles Battle, a Local 98 member in good standing, filed an internal protest with the

union (the “Internal Protest”). See Exhibit “1.”

        7.     Battle’s Internal Protest was assigned to IBEW International Representative

Randy Kieffer for investigation.

        8.     International Representative Kieffer issued his findings to IBEW International

Vice President (IVP) Michael Welsh in a report dated July 24, 2020. See Exhibit “2.”

        9.     International Representative Kieffer issued additional findings to IVP Welsh in a

separate report dated July 28, 2020. See Exhibit “3.”

        10.    By letter from IVP Welsh dated July 31, 2020, the IBEW denied Battle’s Internal

Protest. See Exhibit “4.”

        11.    Having exhausted the remedies available and having received a final decision

from the union, Battle timely filed a complaint with the Secretary of Labor on August 18, 2020,

within the one calendar month required by section 402(a)(1) of the LMRDA, 29 U.S.C. §

482(a)(1).

        12.     By three separate letter agreements, Defendant agreed to extensions of time for

Plaintiff to bring suit, with the last agreement extending that time until and including January 8,

2021.



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       13.     Pursuant to section 601 of the LMRDA, 29 U.S.C. § 521, and in accordance with

section 402(b) of the LMRDA, 29 U.S.C. § 482(b), Plaintiff investigated Battle’s complaint and

found probable cause that violations of Title IV of the LMRDA, 29 U.S.C. §§ 481–483, occurred

that have not been remedied and that may have affected the outcome of Defendant’s June 9,

2020, election. That investigation serves as the basis for the averments in this Complaint.

 DEFENDANT INTIMIDATED AND PRESSURED THREE RANK-AND-FILE MEMBERS
         OUT OF RUNNING FOR OFFICE IN ITS JUNE 2020 ELECTION

       14.     Defendant has approximately 4,000 active members.

       15.     Defendant’s members are employed as electricians in Pennsylvania in Bucks,

Chester, Delaware, Montgomery, Philadelphia, and Lehigh Counties.

       16.     Defendant has a job referral system that is governed by its collective bargaining

agreement as supplemented by its Available for Work List Rules. Members are also typically

allowed to solicit their own jobs.

       17.     On May 18, 2020, Defendant mailed a combined nomination and election notice

to members’ home addresses.

       18.     The notice stated, in relevant part, that “nominations shall take place on June 9,

2020, beginning at 7:00 p.m. at the Union’s offices at 1719 Spring Garden Street.

Acknowledgments of willingness to be nominated for office must be received by the Union no

later than 5:00 p.m. on June 9, 2020.”

       19.     The IBEW International Constitution permits local officer nominations to be

made in writing.

       20.     Defendant’s bylaws do not state that officer nominations must be made in person.

       21.     For its 2020 officer election, Defendant required nominations to be made by a

member who was present at the nomination meeting on June 9, 2020.

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       22.     At the nomination meeting on June 9, 2020, only the incumbent officers were

nominated for office. Because all races were uncontested, no election was held. All incumbent

officers were declared reelected without opposition.

                                Intended Candidate Charles Battle

       23.     Member Charles Battle intended to run for president in Defendant’s June 2020

election, and to have member Michael Coppinger nominate him for office. See Ex. 1 at D 00055;

see also statement of Charles Battle signed Oct. 13, 2020 (Exhibit “5”); statement of Timothy

McConnell signed Oct. 15, 2020 (Exhibit “6”); statement of Philip Borthwick signed Oct. 15,

2020 (Exhibit “7”).

       24.     At Defendant’s membership meetings in November 2019, January 2020, and

February 2020, Battle questioned Defendant’s Business Manager John Dougherty and other

union leadership about how the union was being run. Ex. 5 at DOL_Local 98_00408; see also

Ex. 7 at DOL_Local 98_00414.

       25.     Defendant’s Business Manager is an elected officer position charged with, among

other duties, representing Defendant in dealing with employers, enforcing its collective

bargaining agreement, administering Defendant’s work referral procedures, and serving as

trustee of all of Defendant’s trust funds provided for in the local collective bargaining agreement.

The Business Manager appoints business agents to assist in his duties. John Dougherty has

served as Business Manager since 1993. Like all incumbent officers, Dougherty was up for

reelection in June 2020.

       26.     After each of the membership meetings at which Battle asked questions, Battle

received telephone calls from Defendant’s business agent Robert Bark asking why Battle was so

angry with Defendant’s leaders. Ex. 5 at DOL_Local 98_00408.



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         27.   At Defendant’s January 2020 membership meeting, Battle questioned Dougherty

about money allegedly stolen from the union. Ex. 5 at DOL_Local 98_00408.

         28.   After the January 2020 meeting, Bark arrived, unexpected, at Battle’s house, to

speak to him about why he was questioning Defendant’s leaders. Ex. 5 at DOL_Local 98_00408;

see also Ex. 1 at D 00055.

         29.   After Bark’s visit following the January 2020 membership meeting, Battle told

Bark not to come to his house anymore. Ex. 5 at DOL_Local 98_00408; see also Ex. 1 at D

00055.

         30.   At 8:30 p.m. on Sunday, June 7, 2020, two days prior to Defendant’s nomination

meeting, Bark again visited Battle’s house uninvited despite Battle’s admonition not to do so.

Ex. 1 at D 00055; Ex. 5 at DOL_Local 98_00408.

         31.   When interviewed during the Secretary’s investigation, Bark stated that he visited

Battle’s house on the evening of June 7, 2020, because he had heard rumors that Battle was

running for office. Bark wanted to find out what Battle was so angry about. Ex. 5 at DOL_Local

98_00408.

         32.   On June 9, 2020, Battle went to the union hall at approximately 4:50 p.m. Ex. 5 at

DOL_Local 98_00409.

         33.   Battle completed a nomination form stating his intention to run for the office of

president, reproduced (in redacted form) below. Ex. 5 at DOL_Local 98_00409.




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       34.     Battle submitted his nomination form to Tara Chupka, Defendant’s in-house

counsel and a Local 98 member, who had a clerical role in the election. Ex. 5 at DOL_Local

98_00409.

       35.     When interviewed during the Secretary’s investigation, Chupka stated that she put

Battle’s nomination form in a file folder with other nomination forms and gave the folder to

Defendant’s sergeant-at-arms and business agent Rodney Walker.

       36.     Minutes after submitting his nomination form, Battle received a call from a Local

98 member in Flourtown, Pennsylvania, asking Battle if he was running for president. Ex. 5 at

DOL_Local 98_00409.




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       37.     While Battle waited outside the union hall for the nomination meeting to begin, he

heard Defendant’s business agents talking to the crowd that had gathered. The business agents

were trying to identify Battle’s nominators and anyone else who might be intending to run for

office. Ex. 5 at DOL_Local 98_00409.

       38.     At least 150 people, primarily supporters of Dougherty and his longstanding slate

of incumbents, gathered on the grounds of the union hall on the evening of June 9, 2020. Ex. 7 at

DOL_Local 98_00415; see also Ex. 1 at D 00060–61. On a local radio show on July 11, 2020,

Dougherty stated there were “seven, eight, nine hundred people there” that night. Saturday Night

Live with Philly Labor, Talk Radio 1210 WPHT (July 11, 2020), https://www.audacy.com/

1210wpht/podcasts/labor-show-257/july-11-2020-philly-labor-347693816, at min. 5:00.

       39.     To get to the union hall for the meeting, nominees and nominators had to walk

through the crowd of Dougherty’s supporters gathered in the parking lot and down the steps to

the basement, which Battle described as like “walking the gauntlet.” Ex. 5 at DOL_Local

98_00409. Battle and his supporters found the atmosphere imposing and felt intimidated. Ex. 5 at

DOL_Local 98_00409; Ex. 7 at DOL_Local 98_00415; see also Ex. 1 at D 00060.

       40.     Battle was willing to, and did, signify to Defendant in writing his willingness to

be nominated for the office of president. Ex. 5 at DOL_Local 98_00408–09.

       41.     Battle believed that his supporters would be forced out of work if they went

through with nominating him. Ex. 5 at DOL_Local 98_00408–09.

       42.     As a result of Defendant’s conduct, Battle and his supporters did not attend the

nomination meeting. Ex. 5 at DOL_Local 98_00409–10.

       43.     Defendant did not treat Battle’s written nomination as a nomination for the race of

president.



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       44.    In its letter denying Battle’s Internal Protest, Defendant denied that Battle even

submitted a nomination form, despite having the form in its possession. Ex. 4 at DOL_Local

98_00257.

       45.    Less than one month after Battle filed his Internal Protest, Local 98 sued Battle in

the Philadelphia Court of Common Pleas over statements relating to the election. See Complaint

in IBEW, Local 98 et al. v. Charles Battle et al., July 2020 Term No. 001106, attached as Exhibit

“8.”

                            Intended Candidate Timothy McConnell

       46.    Member Timothy McConnell intended to run for executive board in Defendant’s

June 2020 election. See Ex. 2 at DOL_Local 98_00249; Ex. 6 at DOL_Local 98_00412.1.

       47.    Shortly after McConnell announced his intention of running for office to friends

and others on the job he was working, McConnell began hearing that the incumbent officers did

not want him to run for office. Ex. 2 at DOL_Local 98_00249.

       48.    In the early evening of June 8, 2020, McConnell sent a text to Defendant’s Safety

Director Mark Lynch to inform him that he was thinking about running for an executive board

position. Ex. 6 at DOL_Local 98_00412.1.

       49.    Within a few minutes of receiving McConnell’s text, Lynch called McConnell.

Lynch then gave the phone to Business Manager Dougherty. Ex. 6 at DOL_Local 98_00412.1–

.2; see also Ex. 7 at DOL_Local 98_00415.

       50.    During their telephone call, Dougherty told McConnell, “It’ll be a long three

years if you lose.” Ex. 2 at DOL_Local 98_00249; Ex. 6 at DOL_Local 98_00412.2.

       51.    McConnell perceived Dougherty’s statement as a threat of losing jobs. Ex. 6 at

DOL_Local 98_00412.2–.3; see also Ex. 7 at DOL_Local 98_00415–16.



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       52.     Near the end of the telephone call, Dougherty shouted at McConnell, “If you ain’t

with me, you’re against me!” Ex. 6 at DOL_Local 98_00412.2; Ex. 7 at DOL_Local 98_00415.

       53.     Following his phone conversation with Dougherty on June 8, 2020, McConnell

received dozens of telephone calls apparently prompted by the news that he planned to run for

office. Defendant’s business agent Rodney Walker was among those who called McConnell that

evening. Ex. 6 at DOL_Local 98_00412.2.

       54.     On or around June 8, 2020, Philadelphia ward leader Brian Eddis called

McConnell’s friend and former employer, James Ryan of Par 4 Electric, to relay a message to

McConnell. See statement of James Ryan signed Oct. 26, 2020 (Exhibit “9”). When interviewed

during the Secretary’s investigation, Ryan stated that Eddis told Ryan that he “did not want to

see anything happen to [McConnell].” See also Ex. 6 at DOL_Local 98_00412.2–.3; Ex. 7 at

DOL_Local 98_00416.

       55.     On or around June 9, 2020, Ryan relayed Eddis’s message to McConnell. Ryan

advised McConnell that it was not “worth the aggravation to run” for office. Ex. 9 at DOL_Local

98_00427; see also Ex. 6 at DOL_Local 98_00412.2–.3; Ex. 7 at DOL_Local 98_00416.

       56.     McConnell understood the message relayed by Ryan to be a threat of losing jobs.

Ex. 6 at DOL_Local 98_00412.2–.3.

       57.     McConnell believed that Eddis had made the call to Ryan at Dougherty’s

direction because of its content and because the call was made on the same night Dougherty

spoke with McConnell. See Ex. 6 at DOL_Local 98_00412.2.

       58.     On or around June 9, 2020, McConnell decided not to run for office because of

the threats to his job and because he did not want to jeopardize the job prospects of family

members who work in the trade. Ex. 6 at DOL_Local 98_00412.3.



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       59.     International Representative Kieffer interviewed McConnell on July 22, 2020,

and documented his findings relating to McConnell in his report dated July 24, 2020. See Ex. 2.

       60.     Approximately one week after he provided the Secretary with a signed statement

in connection with the investigation of Battle’s allegations, McConnell was laid off from his job

where he had worked for approximately two years.

                              Intended Candidate Michael Coppinger

       61.     Member Michael Coppinger intended to run for executive board in Defendant’s

June 2020 election. Ex. 5 at DOL_Local 98_00406; see also Ex. 1 at D 00055; Ex. 6 at

DOL_Local 98_00412.2; Ex. 7 at DOL_Local 98_00414.

       62.     On or around June 7–9, 2020, Michael Coppinger received dozens of telephone

calls regarding his intention to run for executive board. See Ex. 6 at DOL_Local 98_00412.2.

       63.     On or around June 9, 2020, Michael Coppinger received a telephone call from his

uncle, Ed Coppinger, a former business agent of Defendant. Ed Coppinger called his nephew to

deliver a message from Dougherty that his career would be finished if he ran for office. Ex. 5 at

DOL_Local 98_00409; see also Ex. 6 at DOL_Local 98_00412.2.

       64.     On or around June 7–9, 2020, Michael Coppinger decided not to run for office.

Ex. 5 at DOL_Local 98_00409.

       65.     On or around June 9, 2020, Michael Coppinger decided not to nominate Battle for

office. Ex. 5 at DOL_Local 98_00409; Ex. 7 at DOL_Local 98_00415.

       66.     The intimidation of Michael Coppinger and the involvement of his uncle Ed

Coppinger were noted on a public website in June or early July 2020. See Ex. 8 at Ex. B thereto.

Defendant made this comment and others the subject of the defamation lawsuit Defendant

initiated against Battle on July 17, 2021.



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    DEFENDANT’S HISTORY OF INTIMIDATION OF AND RETALIATION AGAINST
      MEMBERS SEEKING TO CHALLENGE INCUMBENT UNION LEADERSHIP

         67.   Defendant, controlled by a slate of officers that has not changed in years, has had

a pattern of interfering with the efforts of rank-and-file members to run for local union office

since at least 2014. See Ex. 1 at D 00061; see also statement of Kenneth Rocks, Jr., signed Oct.

26, 2020 (Exhibit “10”).

         68.   At Defendant’s nominations meeting held on May 6, 2014, members Kenneth

Rocks and Kevin O’Sullivan were nominated for executive board positions, challenging

incumbent executive board members. Ex. 10 at DOL_Local 98_00419; see also Ex. 1 at D

00061.

         69.   Defendant prevented Rocks and O’Sullivan from running for office by

disqualifying them on improper bases. See Ex. 10 at DOL_Local 98_00419.

         70.   Defendant entered into a voluntary compliance agreement with Plaintiff on

August 25, 2014, to resolve Plaintiff’s finding that Defendant improperly disqualified eligible

candidates. Per this agreement, Defendant held a rerun election supervised by Plaintiff on

November 1, 2014. In that election, Rocks and O’Sullivan unsuccessfully ran for executive board

positions. Ex. 10 at DOL_Local 98_00419; see also Ex. 1 at D 00061.

         71.   Beginning no later than May 2014 and continuing until at least February 2016,

Defendant subjected Rocks to multiple incidents of intimidation, harassment, and retaliation

based on his participation in officer nominations and running for office. Ex. 10 at DOL_Local

98_00419–21; see also Ex. 1 at D 00061.

         72.   Defendant’s officers and members who subjected Rocks to intimidation,

harassment, and retaliation included Business Manager John Dougherty and business agents

Robert Bark and Rodney Walker. Ex. 10 at DOL_Local 98_00420.

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       73.     Defendant’s retaliatory actions against Rocks included encouraging employers to

lay him off, discouraging employers from hiring him, and failing to refer him for jobs from at

least May 2015 to February 2016. Ex. 10 at DOL_Local 98_00419–20.

       74.     In or around May 2015, Rocks was laid off by Union Electric. See Participant

Monthly History of Kenneth Rocks (“Exhibit 11”) at D 00262.

       75.     Defendant’s work history records confirm that Rocks was out of work for the

following nine months, from May 2015 to February 2016. Ex. 11 at D 00262; see also Ex. 10 at

DOL_Local 98_00419–20.

       76.     In or around February 2016, Rocks confronted then–business agent Ed Coppinger

with evidence that Defendant had failed to send Rocks to a specific job as required by the

Available for Work List Rules. Ex. 10 at DOL_Local 98_00420.

       77.     In or around February 2016, shortly after Rocks’s confrontation with Ed

Coppinger, Dougherty called Rocks to tell him he would get Rocks a job. Ex. 10 at DOL_Local

98_00420.

       78.     The day after Dougherty called Rocks, Defendant sent Rocks to work at the

Philadelphia Convention Center, where Defendant’s Recording Secretary Michael Mascuilli was

then the project manager. Ex. 10 at DOL_Local 98_00420; see also Ex. 11 at D 00262.

       79.     In or around March 2016, Defendant sent Rocks to work for McGoldrick Electric.

Rocks has been working for McGoldrick Electric since March 2016. Ex. 10 at DOL_Local

98_00420; see also Ex. 11 at D 00262.

       80.     Battle, McConnnell, Michael Coppinger, and their supporters were aware of the

intimidation, harassment, and retaliation that Rocks experienced during and following the 2014




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officer election. Ex. 1 at D 00061; Ex. 6 at DOL_Local 98_00412.1–.3; Ex. 7 at DOL_Local

98_00415.

       81.     Battle, McConnell, Michael Coppinger, and their supporters believed that

Defendant would retaliate against them in a similar manner to its treatment of Rocks if they

continued with their plans to nominate members and run for office. Ex. 6 at DOL_Local

98_00412.1–.3; Ex. 7 at DOL_Local 98_00415.

    DEFENDANT HAD NOTICE OF KNOWLEDGE OF, AND THE OPPORTUNITY TO
            INVESTIGATE THE ALLEGATIONS OF INTIMIDATION

       82.     Defendant had notice of, knowledge of, and a full and fair opportunity to

investigate these allegations of intimidation.

               Battle’s Internal Protest Put Defendant on Notice of His Allegations

       83.     In his Internal Protest, Battle stated: “Just to be clear, the exact events that I talked

about in my letter to the DOL [Attachment B to Battle’s Internal Protest] happened on election

night. Members are scared of intimidation and they would not run on their own or support my

candidacy.” Ex. 1 at D 00055.

       84.     Battle’s Internal Protest included the following details:

                       a.      In the weeks leading up to Defendant’s nomination meeting, Battle

       spoke with two other members who were going to run for executive board positions, one

       of whom planned to support Battle by nominating him for president. Id.

                       b.      On the evening of June 7, 2020, the Sunday before the nomination

       meeting, Bark showed up at Battle’s house uninvited, scaring Battle’s family so much

       that they sought guidance from the FBI. Id.




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               c.      The member who planned to run for executive board and nominate

Battle for president notified Battle just prior to the nomination meeting that he could not

nominate Battle “out of fear.” Id.

               d.      Also prior to the nomination meeting, Battle learned that the other

member who planned to run for executive board had received a telephone call from

Lynch, who then gave the phone to Dougherty. Dougherty “began to intimidate” Battle’s

fellow candidate, telling him “something to the effect that: if you go through with this, it

will be a long three years.” Id.

               e.      Based on Defendant’s combined nomination and election notice,

Battle had understood that the only requirement to nominate himself for office was to

express his willingness to do so in writing at the union hall prior to the nomination

meeting. When he arrived at the union hall to submit his nomination form, Battle was

intimidated by signs and a form indicating that he and his nominators would have to

appear in person to meet the nomination requirements. Id. at D 00054–55.

               f.      Battle submitted his nomination form to Defendant’s in-house

counsel and member Tara Chupka before the deadline. Id.; see also Battle’s nomination

form, supra.

               g.      Waiting outside the union hall for the nomination meeting to

begin, Battle was “deflated, scared and alone,” afraid that the same thing that happened to

his fellow candidates would happen to him, and remembering the fear his family felt

from Bark’s visit. Because of these concerns, Battle left the union hall before the

nomination meeting began. Id. at D 00055.




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       85.     Battle attached to his Internal Protest an undated letter that he had sent to the

Department of Labor on June 6, 2020, with copies to IBEW officials received on June 8, 2020.

Id. at D 00059–63.

       86.     In his Internal Protest, Battle explained that in the June 6 letter he had “assumed

concerns” about the upcoming election, and “every one of my fears [described in the June 6

letter] came true.” Id. at D00053. Battle described in his June 6 letter the “fear” that would be

created by “[t]he intimidating atmosphere of the election site,” reflecting that “members MUST

vote for a candidate backed by the Business Manager or face reprisal.” Id. at D 00060.

       87.     In his June 6 letter, Battle stated that “members have complained of schemes that

go as far back as . . . over 25 years ago. In older members [sic] opinions the Business Managers’

intimidation has gone unchecked and has progressed steadily over the years.” Id. at D 00061.

       88.     In his June 6 letter, Battle also noted that there had been “allegations of

intimidation and election trickery” during Defendant’s 2014 officer election, in which member

“Kenny Rocks [ran] for a spot on the executive board without the Business Manager’s approval.”

Id. Battle further stated in his June 6 letter that the Department of Labor had supervised a rerun

of the 2014 election but that Rocks subsequently suffered violations of his rights. Id.

  Defendant’s Internal Investigation of Battle’s Internal Protest Confirms It Had Notice of the
                                  Allegations of Intimidation

       89.     International Representative Kieffer interviewed Battle in connection with his

Internal Protest and had the opportunity to inquire about each statement therein. See Ex. 3.

       90.     In his report of his investigation of Battle’s Internal Protest, International

Representative Kieffer acknowledged Battle’s allegation that “his two supporters were

intimidated by some members and business agents not to support his candidacy.” Id. at 2.




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       91.     International Representative Kieffer determined that the notice of Defendant’s

2020 officer election “may not have been clear to some people.” Id.

       92.     International Representative Kieffer acknowledged Battle’s claim that signage

posted at the site of the nomination meeting “may have been a ploy to intimidate him not to enter

the building because it said that he would need three people present.” Id.

       93.     Upon conclusion of his review, International Representative Kieffer reported that

“Battle may have felt intimidated,” but nonetheless found that “[t]he claim of intimidation is still

not clearly proven.” Id. at 4.

       94.     International Representative Kieffer interviewed McConnell on or about July 22,

2020. See Ex. 2.

       95.     International Representative Kieffer documented that McConnell told him that

“business manager Dougherty said [to McConnell] if you lose the election it could be a long

three years . . . .” McConnell said that while he did not know “exactly what that meant[,] it made

him reconsider running for office.” As International Representative Kieffer reported, McConnell

confirmed Dougherty’s statement “could have been taken as intimidation.” Id.

       96.     International Representative Kieffer also confirmed that McConnell told him of

the call that Dougherty, Eddis, and Ryan had regarding McConnell running for executive board

“and how that may not be good for the Local Union.” International Representative Kieffer

documented McConnell’s statement that the conversation “made him feel uncomfortable” and

“he felt that it would be best for him not to run for office.” Id.

       97.     As documented in International Representative Kieffer’s report, McConnell said

that he “worried there might be some reprisal against himself and his friends and family [such as

his brother-in-law, a Local 98 apprentice] if he continued to pursue office.” Id.



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        98.    International Representative Kieffer reported that based on the conduct of

Defendant, “McConnel [sic] told me that even though there were no direct threats he felt that it

would be best for him not to run for office.” Id.

        Defendant’s July 17, 2020, Defamation Suit Against Battle Confirms It Had Notice of the
         Allegations of Intimidation of Michael Coppinger and the Intimidating Atmosphere of
                                   the Site of the Nomination Meeting

        99.    On July 17, 2020, while Defendant was investigating Battle’s Internal Protest,

Defendant filed a defamation lawsuit against Battle in the Philadelphia Court of Common Pleas

through a Praecipe to Issue a Writ of Summons. Defendant served Battle and his wife with a

Writ of Summons on July 21, 2021.

        100.   In its complaint, which it filed in August 2020, Defendant asserted that Battle

made, or was otherwise responsible for, allegations of interference by Defendant in its June 2020

officer election, including the following statement posted on a website in late June or early July

2020:

               John Dougherty, Bobby Bark, Mark Lynch and others intimidated potential
               candidates into not going thru with the nomination process.
               you remember when you got on the phone with mark and said if you go
               through with this the next three years will be hell .... really you had to get
               ed cop off his couch to indimidate [sic] his own nephew PATHETIC John.

Ex. 8 at DOL_LOCAL 98_02718 (yellow highlights in original); see also id. at ¶ 18(g).

        101.   Additional comments Defendant attached to its defamation complaint stated the

election was not held in a “neutral place,” id. at DOL_LOCAL 98_02717, at post dated June 28,

2020, and noted the actions of Bark and Defendant’s intimidation of Rocks in 2014. Id. at

DOL_LOCAL 98_02704 and 2717, at posts dated June 15 and July 2, 2020. See also id. at

¶¶ 15(a) and (e).




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       102.     Defendant alleged these statements “represent[ed] that Local 98 encourages and

condones election results obtained through unlawful intimidation and fear.” Id. at ¶ 18(g).


Plaintiff, in His Investigation of Battle’s Election Complaint, Found Probable Cause to Believe a
              Violation of the LMRDA Occurred Which Defendant Did Not Remedy

       103.     Over the course of his investigation, Plaintiff gathered documents from

Defendant, including Battle’s signed nomination form which he submitted to Defendant prior to

the nominations meeting, and International Representative Kieffer’s report of his interview of

McConnell during his investigation of Battle’s Internal Protest.

       104.     Plaintiff also interviewed over two dozen witness, including rank-and-file union

members, members of Defendant’s leadership, and third parties believed to have information

pertinent to the issues raised in Battle’s complaint.

       105.     Based on the evidence gathered over the course of the investigation, which

included the sworn statements of multiple witnesses and Defendant’s own documentation,

Plaintiff found probable cause to believe that a violation of the LMRDA occurred and was not

remedied by the union. Having so found, Plaintiff brings this civil action, as required by the

LMRDA. 29 U.S.C. § 482(b).

       106.     Plaintiff makes no allegation in this civil action that Defendant deprived members

of their LMRDA rights by the use of physical force or violence or by threatening the use of

physical force or violence.

       107.     Plaintiff found probable cause to believe that Defendant intimidated the intended

candidates by threatening reprisal through economic, reputational, and other unwelcome

consequences.




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                                              COUNT I
                      Violation of § 401(e) of the LMRDA, 29 U.S.C. § 481(e)

          108.   Plaintiff incorporates by reference the foregoing paragraphs as though fully set

forth herein.

          109.   Section 401(e) of the LMRDA provides, in relevant part, that members must be

given a reasonable opportunity to nominate candidates, that members in good standing must be

allowed to run for office if they meet the union’s reasonable qualifications, and that members

have the right to vote for and support the candidates of their choice, all “without being subject to

penalty, discipline, or improper interference or reprisal of any kind by such organization or any

member thereof.” 29 U.S.C. § 481(e).

          110.   Defendant is liable for violations of Title VI of the LMRDA that occurred during

its officer election that Defendant failed to remedy. 29 U.S.C. § 482(b).

          111.   Defendant violated section 401(e) of the LMRDA, 29 U.S.C. § 481(e), when

Defendant’s officers, business agents, and members improperly interfered with and threatened

reprisal against members in good standing who wished to run for office and nominate others for

office.

          112.   Defendant’s conduct “may have affected the outcome of the election” within the

meaning of the LMRDA. 29 U.S.C. § 482(c)(2).

          113.   Pursuant to section 402(c) of the LMRDA, the Court must therefore declare

Defendant’s 2020 election void and order a new election under Plaintiff’s supervision. 29 U.S.C.

§ 482(c).




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendant:

       (a)     declaring Defendant’s election for the offices of president and executive board

(five positions) to be void pursuant to 29 U.S.C. § 482(c);

       (b)     directing Defendant to conduct a new election, including new nominations, for the

offices of president and executive board (five positions) under Plaintiff’s supervision under 29

U.S.C. § 482(c);

       (c)     awarding Plaintiff the costs of this action; and

       (d)     awarding Plaintiff such other and further relief as the Court deems just and

appropriate.

                                                      Respectfully submitted,

       Dated: July 1, 2021                            VANITA GUPTA
                                                      Assistant Attorney General

                                                      JENNIFER ARBITTIER WILLIAMS
                                                      Acting United States Attorney

                                                      /s/ Gregory B. David
                                                      GREGORY B. DAVID
                                                      Assistant United States Attorney
                                                      Chief, Civil Division

                                                      /s/ Charlene Keller Fullmer
                                                      CHARLENE KELLER FULLMER
                                                      Assistant United States Attorney
                                                      Deputy Chief, Civil Division

                                                      /s/ Lauren DeBruicker
                                                      LAUREN DeBRUICKER
                                                      Assistant United States Attorney
                                                      615 Chestnut Street, Suite 1250
                                                      Philadelphia, PA 19106
                                                      Phone: (215) 861-8492
                                                      Lauren.DeBruicker@usdoj.gov



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OF COUNSEL:

ELENA GOLDSTEIN
Deputy Solicitor of Labor

BEVERLY DANKOWITZ
Associate Solicitor

JEFFREY LUPARDO
Counsel for Labor-Management and Civil Rights Enforcement

ANNA LAURA BENNETT
Senior Attorney

U.S. Department of Labor




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    Exhibit 1
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Charles Battle
2548 Brooke Road
Pennsburg, PA 18073                                                     June 16, 2020

IBEW IVP Michael Welsh
£BEW Third District Office
500 Cherrington Parkway
Suite 325
Coraopolis, PA 15108

VP Welsh,

My name is Charles Battle, a dues paying member of Local Union #98, Card# D862584, Phi la. PA.

I am appealing the current election cycle as l claim that the nomination process was fraudulently
manipulated to secure a guaranteed outcome for the current administratiqn. This was not an election
process ft was a SELECTION process.                                     ,.-

My appeal is based off of the guidelines and rules set forth In the Labor Management Reporting and
Disclosure Act of 1959 (LMRDA), guidance from the U.S. Department of labor sources, the IBEW
Constitution, the IBEW Basic Laws & Policies and my Local union 98 Bylaws.

It is my belief that "members of the IBEW are afforded the most fundamental of democratic rights...
which include the right to vote for representatives of THEIR choice who will lead THEIR union... This
freedom to vote is a continuation of the principles of the IBEW, guaranteed by our Constitution and local
bylaws..."

Enclosed, you will find a Notice of Nominations and Election of Officers and Election Board of IBEW Local
98 dated May 18, 2020 (Attachment A).

This document, in conjunction with all other considered materials and statements, will be the basis of
my appeal.

In addition, I am attaching my letter to the U.S. Department of labor (Attachment 8) which was sent out
on June 6, 2020, which I believe that you received on June 8, 2020.

In this letter I plead for assistance in the upcoming election cycle and my assumed concerns.

Mr. Welsh, every one of my fears came true. Every single one.

I read the Notice of Nominations and Elections ahd Election of Officers and Election Board of IBEW local
98 very carefully. I followed every guideline set forth within the notice carefully.Jam including the
following excerpt below for your reference.

"NOMINATION FOR ELECTION OF OFFICERS 0~ THE LOCAL 98 AND NOMINATION AND ELECTION OF
ELECTION BOARD - Nominations shall take place on June 9, 2020, beginning at 7:00p.m. at the Union's
offices at 1719 Spring Garden Street. Acknowledgements of willingness to be nominated for office must
be received by the Union no later than 5:00 pm on June 91 2020. Election of the Election Board, if
required, will take place at the conclusion of the nomihations. One (1) Election Judge an~~~-WiU._D
be elected."                                                                            REUEl VE

                                                                                          JUN 2 2 2028
                                                D 00053                             IBEW THIRD DISTRICT
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According to the Department of Labor "Nomination Notice11 requirements, 1'the nomination notice
should specify the offices to be filled in the election (and identify any offices for which the officer is a
delegate by virtue of election to office). It should also include the date, time, place and method for
submitting nominations (by mail, petition, or orally at a meeting including details such as whether a
nomination must be seconded, number of signatures required on a petition, etc."

As you can confirm by reading the "NOTICE OF NOMINATIONS...'' (Attachment A) Within the notice that
was provided to me by the current Local 98 administration there were no specifics with regards to
seconding or nominating. To the contrary, it stated vaguely that"Acknowledgements of willingness to
be nominated for office must be received by the Union no later than 5:00 pm on June 91 2020. I took this
as the only requirement for nominations.

The Department of Labor guidelines are quite specific. "The state...and method for submitting
nominations... including details such as whether a nomination must be seconded ... etc."

This nomination notice in my opinion was drafted to be intentionally vague, to deceive the membership
and to thwatt any competition to the current administration. It appears to me, to be in direct violation
of the Department of Labor's guidelines.

I appeared at 1719 Spring Garden Street at 4:50 pm on June 9, 2020 to express my willingness to run for
office. Unfortunately, I was met at the door with a sign that read " IBEW Local 98 Nominations 2020, **
The ONLY Members allowed into the building will be: the Nominated Candidate, the Member
nominating the Candidate, the Member seconding the nomination, please see the Door Worker to be
granted access" (Attachment C).

Looking back at that sign, I think it must have been a ploy by the administration to intimidate me into
not entering the building. The notice did not mention anything about needing "three people" present so
that I could nominate myself for office.

Once I entered the building, I was directed to a window. I went to the wi ndow where I was eventually
met by Tara Chupka, the attorney representing local 98 who is also the Business Manager's adopted
daughter or something of that nature. I respectfully requested to nom inate myself for office.

Tara did not provide her official capacity. She was in possession of a stack of papers when she
acknowledged me. Tara informed me that I, the Nominated Candidate, along with a member nominating
the Candidate, and a member seconding the nomination must appear before her to fill out paperwork in
order to be considered for nomination.

I asked Tara if the stack of papers she was holding were additional members who were seeking office,
and she told me they were. I then asked Tara if I could see the members' names that were running for
office and what offices they were running for. In an in-person election, I would have been able to see
who else was running for the variety of positions. However, with this process, the Business Manager
took transparency out of the nomination process and was the only one who knew who the competition
was. Thus, creating an unfair advantage to the Business Manager.

Tara asked me to wait, and that she had to ask someone if it was okay to show me the names of the
additional members seeking office. She left my presence, I am not sure where she went. Upon her
return, she informed me that I am not entitled to review or have knowledge of the names of the


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members seeking office. Th is inherently does not seem right to me since these "nominations" are
supposed to be transparent.

So, I began to fill out the "newly required" nomination paperwork. I came across a part where I was
required to list a member in good standing to nominate me. Then I had to list a member in good
standing to second my nomination. At this point, it was clear to me, that the rules changed and that this
was a pure attempt to intimidate me not to follow through with running for office. I was told that the
member in good standing that was going to nominate me also had to register with Tara in person and
sign a form indicating their intention. I was not notified that I needed this, nor was I notified that the
meeting format had changed. I was completely blindsided by the fact that we even had the nomination
in complete defiance of the Governor of Pennsylvania's COVID-19 State order as well as the City of
Philadelphia' s COVID-19 City order to limiting gatherings. In addition to the lockdown measures,
Philadelphia was dealing w ith civil unrest in which civilians were being harmed and properties were
being damaged.

For the life of me I cannot understand the rush for this "nomination" schedule other than to ram the
current administration back down our throats.

This "new" requirement was not mentioned in the Nomination notice and should be grounds by itself to
require a new 10 or Department of Labor controlled election process.

In the weeks prior to me showing up, to run for office at Local 98, I garnered support from fellow
members and friends. I spoke with a couple of guys that also wanted to make a difference and were
going to run for positions on the Executive Board. Collectively, we thought that we could help make
changes to our Local Union.

Unfortunately, prior to my showing up at 1719 Spring Garden to fill out the paperwork, I was notified by
one of my fellow candidates, that was also going to nominate me on the floor, that he was unable to
nominate me out of fear.

I was floored and totally blindsided. Less than an hour ago we had a plan and now this. After speaking to
my fellow candidate, he told me that he got a call from Mark Lynch, the Safety Coordinator at Local 98.
Mark gave the phone to the Business Manager who began to intimidate him . The Business Manager told
my fellow candidate something to the effect that: if you go through with this, it will be a long t hree
years.

Just to be clear, the exact events that I talked about in my letter to the DOL happened on election night.
Members are scared of intimidation and they would not run on their own or support my candidacy.

So, while I was in the office filling out the paperwork I no longer had anyone to sign the papers as the
Nominating member. I was deflated, scared and alone. If this could happen to my fellow candidates,
what could happen to me? At that moment, I reflected on my family and the fear that they have
endured so far. My mind immediately went to the Sunday night before the nomination when a Local
Union 98 Business Representative named Bob Bark showed up at my house uninvited. He put the fear of
God into my w ife and family. This is not the first time that Agent Bark has showed up at my house
uninvited. On the last occasion, I told him to never show up at my house uninvited again because he is
scaring my family. This is such a concern of ours, that we have reached out to the FBI for guidance. I
cannot believe that 1n today's day and age that a Union can get away with threatening and intimidating
their membership. Due to my concerns about the safety of my family, I then left the building, disgraced
and let down.

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In my opinion this unlawfully, ended my candidacy.


Preside nt Welsh, no membe r, ever should have to endure what I did just
                                                                         to be nomina ted to run for an
elected office.

Page ii of the INTERNATIONAL BROTHERHOOD of ELECTRICAL WORKE
                                                            RS CONSTITUTION states:

                 Declara tion of the INTERNATIONAL BROTHERHOOD of ELECTRICAL WORKS

                Our cause is the cause of human justice, human rights, human security
                                                                                          .
    We refuse, and w ill always refuse, to condon e or tolerate dictator ship
                                                                              or oppression of any kind.
  We will find and expel from our midst any who might attemp t to destroy
                                                                              , by subversion, all that we
                                                stand for.
 This Brother hood will continu e to oppose commu nism, Nazism or any
                                                                           other subversive ''ism." We wlll
                                suppor t our God, our Nations, our Union.

Brother Welsh, I implore you to do. the right thing. Our Local Union needs
                                                                            to know that this Declaration
is worth more than the paper it is written on. My human rights, security
                                                                         , and j ustice have been violat ed.

This election process must be thrown out and a new 10 or DOL control
                                                                     led election process must be
implem ented.




Charles Battle




                                                                                                          4

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Cc:
Mr. Lonnie Stephenson IBEW International President   USPS Certified 7018 1130 0000 1004 4709

M r. Kenneth Cooper   IBEW International Sectary     USPS Certified 7018 1130 0000 1004 4716

Mr. John Newman       IBEW Counsel                   USPS Certified 7018 1130 0000 1004 4723

M r. Michael Welsh    IBEW 3rd District VP           USPS Certified 7018113000001004 4730

Mr. Randy Keifer      IBEW 3rd District Rep.         USPS Certified 7018 113000001004 4747

Crystal l. Guy        U.S. Department of Labor       USPS Certified 7018 1130 0000 1004 4754

Bindu George          U.S. Department of Labor       USPS Certified 7018 1130 0000 1004 4761




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                                                                               Attachment "A"
      ~t:~..,~~   _ Loc al Union No. 98_ _ _ _ _ __
                        INTE RNATIONAL BROTHERHOOD OF ELECTRIC AL WORKERS
                        1701 Spring Garden Street                                               Phone: 215-563-5592
                        Philadelphia, Pennsylvania 19130                                        Fax:   215-561-2168
                                       NOTIC E OF NOMI NATIO NS AND ELEC TION                          May 18, 2020
                                        OF OFFIC ERS AND ELEC TION BOAR D
                                                  OF !BEW LOCA L 98

             Dear Brothers and Sisters:

        We are writing to provide you with notice, as well as the
                                                                            details of the nomination
        procedures for the nomination of offlcers, and nomination and
                                                                              election of the Election
        Board. to be held at 1719 Spring Garden Street on Tuesday, June
____ __ eJe.ci_Kll...Qf gfficers JQ be held on Saturday. ,1,,1y 11              9, 2020, as well as the
                                                                   ?O?O ThP. nnmin: :itinn nf nffir-Ars and
        the nomination and election of the Election Board , if needed,
                                                                             will be the only order of
        business on June 9.

             Due to the !Imitations placed upon us by the City of Philadelphia
                                                                                   and Commonwealth of
             Pennsylvania, and to conform with CDC guidelines. strict protoc
                                                                                ols will be in place for the
             nomination meetlng. The Union Hall and our surrounding
                                                                              property will be thoroughly
            cleaned and disinfected before the meeting. members will be require
                                                                                    d to wear masks to the
            meeting. admission of members to the meeting will be stagge
                                                                                red to assure that social
            distancing is maintained and the meeting room will be set up
                                                                                 so as to assure that all
            members can maintain a social distance of at least 6 feet at all
                                                                             times . Hand sanitizer will be
            available. Members should not congregate in the parking lot or
                                                                               on the sidewalks before or
            after the meeting. Members who have symptoms that may be related
                                                                                     to COVID-19 (such as
            fever, cough, or shortness of breath) should not attend the meetin
                                                                                g.
            NOMINATION FOR ELECTION OF OFFICERS OF LOCAL 98
                                                                                AND NOMINATION AND
            ELECTION OF ELECTION BOARD - nominations shall take
                                                                                place on June 9, 2020,
            beginning at 7:00 p.m. at the Union's offices at 1719
                                                                                 Spring Garden Stree l
            Acknowledgments of willingness to be nominated for office must
                                                                                be received by the Union
            no later than 5:00 p.m. on June 9, 2020. Election of the Electio
                                                                             n Board . if required. will take
            place at the conclusion of the nominations . One (1) Election
                                                                              Judge and 4 tellers will be
            e!ecte d.

            ELECTION OF LOCAL 98 OFFICERS - the election of Local 98
                                                                                 Officers shall take place on
            July 11 , 2020 at 1719 Spring Garden Street, between the hours
                                                                                 of 8:00 a.m. and 4:00 p.m.
           The officers to be elected are: Business Manager/Financial
                                                                                 Secretary, President, Vice
           President, Recording Secretary. Treasurer, 5 Executive Board
                                                                                 positions and 3 Examining
           Board positions. If you will be unable to visit the polls on electio
                                                                                n day, you may apply for an
           absentee ballot by writing to the Election Board at 1719 Spring
                                                                                      Garden Street. Your
           application must be received by the Election Board between
                                                                                June 12 and July 6, 2020.
           Installation of officers will take place at the July 28, 2020 memb
                                                                              ership meeting. If needed, a
           run-off election will be held at the same times and at the same locatio
                                                                                     n on August 1. 2020.
           ELIGIBILITY FOR OFFICE OR FOR ELECT ION BOARD - no
                                                                            member shall be eligible for
           office or for the Election Board unless he/she has been a memb
                                                                            er of Local 98 in continuous
           good standing for at least two (2) years prior to June 9, 2020. No
                                                                              candidate for office will be
           eligible to serve on the Election Board .

           Michael Masciulll, Recording Secretary

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U.S. Department of Labor                                           Attachment "B"
170S. Independence Mall West
Suite 600
Philadelphia, PA 19106
Regional Administrator
Crystal L. Guy



Regional Administrator Guy,



We are requesting your immediate intervention to our Local Union 98 elections. We need your assistance
NOW, as time is ofthe essence. We were recently notified that union nominations will be held on Tuesday,
June 9th at 7:00 pm. Our current administration is under federal indictment for corruption, and the
corruption flows through many offices, boards, committees and joint committees with contractors. Our
hard-earned money is being stolen from our union's funds, including but not limited to: our general fund,
apprentice training fund and our COPE fund, which is optional but MANDATORY upon further review.

Due to an ongoing corruption investigation, global pandemic, and civil unrest In our city, we request
you to force a postponement of this election.

The Business Manager is rushing this election cycle to once again guarantee himself ultimate control of
our union finances. We the paying members have no idea how our money is being spent and are not even
allowed to question the Business Manager without fear of reprisal. After being indicted on stealing from
union funds he made himself the Unions Financial Secretary. This is not right.

In the recent 116 count indictment, the lead prosecutor used phrases like, falsified doc.umentation1 abuse
of trust, embezzlement of union assets, falsification of annual financial reports etc. These instances
directly implicate Local 98's Business Manager in abusing his position of power for his own benefit. As
Michael Harpster, FBI Special Agent in Charge, stated; "This indictment is NOT a case against local 98...
John Dougherty is not pro union and does not honestly represent the interests of all of 98's membership."
This statement by agent Harpster indicates that the Business Manager ls unfit to hold any position
within Local Union 98.

It is my understanding that multiple letters outlining the wide-spread corruption within Local Union 98
have been distributed to the International Union, The Department of Labor, The Federal Bureau of
Investigation, The Department of Justice and other organizations. It appears, from prior indictments, and
recent sealed indictment pleas, that the Department of Labor, the Federal Bureau of Investigation and the
Department ofJustice are trying to do the right thing to protect the "blue collar" workers of Local Union
98, and we the members of Local Union# 98 IBEW are extremely appreciative.

Despite the recent investigation and charges by the FBI, IRS and DOJ against the Business Manager and
his Administration, nothing has been done by the International Union.

It is appalling that the International Electrical Union, who has been notified of all of these allegations for
over FIVE years, has not, is not and wlll not do anything to protect OUR workers. This is a pure dereliction




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of their international responsibility to oversee its local unions and protect the very workers that they
mandate union dues from.

Additionally, LM-2 reports are required to be filed by every union across the country for the protection of
their workers' funds. I find it abhorrent that the International Union has neglected its fiduciary
responsibility in properly auditing Local 98's filings of these LM-2 reports. It is our understanding that
Local-98 has not filed an LM-2 report for 2018, 2019 and 2020. In other words, the International Unfon i$
looking the other way. We need accountability now before all of our funds are misappropriated.

Instead of leading by example, the international is waiting for federal agencies to do their jobs. With all of
the known information about the Business Manager from the Federal indictment, why hasn't he been
removed from office? We constantly ask ourselves if this is because the corruption runs deeper than the
local union.

Hawaii's IBEW local 1260 Business Manager Brian Ahakuelo was dismissed from his duties by IBEW
International Vice President John O'Rourke for similar, but LESSER allegations. This is LEADERSHIP. VP
O'Rourke received the complaints reviewed the LM-2's and executed his sworn duty to protect the
Electrical workers of Hawaii.

Again why did the former 3 rd District Vice President protect Local 98' s Business Manager by not auditing
this local union as required? Why is the current IBEW International administration including but not
limited to the 3rd District Vice President protecting him?

If this local union election is allowed to be held, the Department of Labor wlll be, in effect, endorsing the
current corrupt administration. The members of Local Union 98, respectfully request that you, the
Department of Labor immediately postpone this election until after the federal trial or completely
regulate, formulate and oversee the entire election process since the International Union is turning a blind
eye.

With the current COVID-19 pandemic, the current administration will stifle the election count and rig the
results. They will make excuses as to why voters should not come to the polls due to social distancing,
which will mentally discourage our members from participating in a fair election process. No one wants
to wait in line for five hours to vote, especially during these times.

Our members are afraid. Not only are they afraid of the issues plaguing our society currently, but also they
are concerned about in person voting, which could increase their likelihood of becoming sick or affecting
their family. The intimidating atmosphere of the election site creates fear as members MUST vote for a
candidate backed by the Business Manager or face reprisal.

We need a fair election. We need an election free from personal intimidation and fraud, We need an
election with as many members participating as ate willing and feel safe. An election that has the full
oversight of the Department of Labor will ensure a fair election occurs.

•As you can see, we NEED YOU the Department of Labor!

With the current events it appears that you have our back. Please reaffirm it with this election. If you give
us a fair, safe voting method, we will vote our choice into office. Good, bad or indifferent, the election will
be the will of the full membership, not the dictatorship of the Business Manager and his current
administration.




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Below is our proposal for a fair election run by the Department of Labor.

DOL postponement of the election due to COVID-19 challenges, civil unrest and the current federal
investigation.

DOL structuring of the nomination process, collecting the nominees, and publishing of the nominees to
the membership.

DOL structuring of the campaign process and oversight of an independent firm (not the current printer)
to provide safe and t imely mailing of campaign literature to the members of Local Union 98.

DOL structuring the mail in voting process, collection and counting of votes, and reporting the vote count
to the membership.

We ask for a process run by the Department of Labor for many reasons. Our main complaint stems from
the fact that during the current adnii'nistrations- reign, we ttie members feel like 'the "system" has·been
stacked against us.

The Busli:iess Manager has relationships with the union's current printer. A<s a result, a new printing
company must be responsible for all mailings and election related material.

There are concerns that literature from opponents of the Business Manager can be "leaked" to the
Business Manager's team. If this is the case, the Business Manager's team would have an advantage and
know what their competitor's issues were. With this information the current administration can make
similar assertions or claims about their opponent, in affect rendering the opposition claims moot. It is also
possible that there could be delays in the mailings of the opponents' literature until the Business Manager
has time to formally send out his own mailings in advance of his opponents,

It is important to note that members have complained of schemes that go as far back as the Ed Foley and
Paul Gilmore era, which is over 25 years ago. In older members opinions the Business Managers'
Intimidation has gone unchecked and has progressed steadily over the years.

In addition to the possibilities of rigging the voting process through his relationships, the Business
Manager has unfairly used the law enforcement and judicial systems to his advantage in elections. In the
2014 election the DOL was asked to oversee the election after allegations of intimidation and election
trickery and the DOL provided guidance in this instance.

The election saw Kenny Rocks run for a spot on the executive board without the Business Manager's
approval.

 During this futile attempt to run against the Business Manager's Team, Kenny Rocks' rights were violated.
 There are accusations thatthe Business Manager's Team pulled strings in the law enforcement and judicial
 systems to unseal Mr. Rocks' court records to use this information against him. This information, that was
 previously sealed, was used to accuse him of domestic violence. This information then was used by the
·Business Manager's Team and mailed out or conveyed to local 98 members in an effort (which worked)
 to paint this poor man as a spouse abuser. It was then that the Department of Labor was called in during
the 2014 election.

 Unfortunately, the election process favors the incumbent party. The judge of elections is voted in, (In
 reality selected by "the Business Manager") and is supposed to be in sole custody of the balloting system.




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Unfortunately, the election process favors the incumbent      party. The judge of elections is voted in, (in
reality selected by "the Business Manager") and is supposed to be in sole custody of the balloting system ,
Due to the Business Manager's sphere of influence most members are intimidated into not participating
in the voting process. It is also alle_ged that the Business Manager on many occasions has stated that "there
is not an election that we cannot win since we count the votes1' .

Purportedly, the Vice President, his lead intimidator, makes sure that the count goes as planned. This
Local Union administration is ripe with corruption. Once again the fox is watching the hen house. We need
independent oversight, Transparency, Honesty.

EVERY VOTE SHOULD COUNT, OUR MEMBERS SHOULD FEEL THEIR VOICES ARE BEING HEARD.

Additionally, the Business Manager was named in a recent newspaper article. The artfcle stated that Local
Union 98 paid a convicted felon with union funds, who was a former City of Philadelphia councilman and
is infamous for his role in accepting bribe money in the ABSCAM case. The same person mentioned in the
article is believed to be currently involved in an election fraud case, where Dominkk DeMuro fixed
elections and pied guilty to federal charges.

We, the members of IBEW Local Union# 98, have contacted our International Union numerous times to
no avail. Al~ of our complaints have fallen on deaf ears.

Our International Union is complicit in the corruption that has beset our Local Union, and we request that
you open a formal Investigation into the International, specifically former the 3rd District Vice President.
      0
The 3' District Vice President has recently retired from the international and is now receiving a hefty
monthfy stipend from Local Union 98. We presume this is "hush money" for the many misdeeds that
occurred on his watch, or a gift from the Business Manager for former VP Siegel's current influence
peddling to keep the heat off of the Business Manager. If LM-2 forms were filed properly by the Local 98,
these payments would appear on record.

I am sure that when you investigate, you will find items like payments to the former 3 rd District Vice
President commoopl;;ice. For example, payments to operatives being disguised as "consultants fees",
member intimidation, union charges to cover up federal crimes and ghost employees.

Moreover, the recent indictment of the Business Manager Dougherty indicated theft from union funds to
fix properties owned by the Business Manager, the President and the Director of Apprentice Tratning. All
under the guidance and approval of the Apprentice Training Committee members and co-conspirators.
The people with a fiduciary responsibility to the organization have failed our Local Union.

Please help us right our ship, as the load is too heavy to bear! We truly need your help.

Postpone the election and structure an unbiased mail in election process to deliver a fair vote without
the Business Manager's thumb on the scale.



Thank you for any assistance that you can provide.




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Cc:
Mr. Lonnie Stephenson IBEW International President   USPS Certified 7020 0640 0000 6202 0072

Mr. Kenneth Cooper    IBEW International Sectary     USPS Certified 7020 0640 0000 6202 0096

Mr. John Newman       lBEW Counsel                   USPS Certified 7020 0640 0000 6202 0102

Mr. Michael Welsh     IBEW 3rd District VP           USPS Certified 7019 1640 0001 6792 7208

Mr. Randy Keifer      IBEW 3n1 District Rep.         USPS Certified 7020 0640 0000 6202 0065

Crystal L. Guy        U.S. Department of labor       USPS Certified 7019 1640 00016792 7192

Bindu George          U.S. Department of Labor       USPS Certified 7019 1640 00016792 721S




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    Exhibit 2
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Randy L. Kieffer
9 Ridge Crest Drive
Fleetwood, PA. 19522
(610) 207-2215
Randy_Kieffer@ibew.org


July 24, 2020


RE: Assignment – Interview Local Union #98 member Tim McConnel
regarding nomination of officers.


Mr. Michael D. Welsh
International Vice President
International Brotherhood of Electrical Workers
500 Cherrington Pkwy., Suite 325
Coraopolis, PA 15108

Dear Sir and Brother:

After an investigation of this matter and conversation with Local Union #98 member Tim McConnel,
I offer the following report.

While investigating the complaint from Local Union #98 member Charles Battle regarding his claim
of intimidation from Business Agents of Local Union #98 prior to Local Union nominations Brother
Battle alluded to the fact that he was not the only member that was being bullied into not running for
office. Brother Battle told me there were two other members that were considering running for office
at the upcoming elections but did not because of intimidation from officers and members. I asked
Brother Battle if these two members would be willing to talk to me about their experiences. At first
Brother Battle told me that it is not likely they would talk to me because of fear of reprisal from the
sitting officers but he would contact these members to see if they would be willing to speak to me.

This conversation with Brother Battle regarding me speaking to other members about their
experiences regarding the nomination process took place on July 6,2020. Not hearing back from
Brother Battle for quite a long time I took for granted the other members were not interested in
speaking to me. However, on July 20, 2020 Charles Battle called me and told me that a Local Union
#98 member that felt intimated to run for office would speak to me and Brother Battle gave me the
phone number of member Tim McConnel.




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I spoke to Brother McConnel on July 22, 2020. Brother McConnel told me that he considered running
for an executive board position in the Local Union #98 elections. He told me he was not running with
a ticket and was not assisting Charles Battle with his campaign. Brother McConnel stated he considered
running for an e-board position because he just thought he could help Local Union #98 move
forward. Brother McConnel announced his intention of running for office to his friends and other
on the job he was working.



Brother McConnel said it was about that time he started to hear that the sitting officers did not want
him to run for office. Brother McConnel said he got a phone call from Local Union #98 Business
Manager John Dougherty and they spoke about 45 minutes about upcoming nominations. Brother
McConnel said Business Manager Dougherty did not directly threatened him not to run for office,
but the conversation made him “Feel Funny.” This conversation consisted of things like why change
officers when things are so good and working well. Brother McConnel said the only thing that could
have been taken as intimidation was Business Manager Dougherty said “if you lose the election it
could be a long three years, not knowing exactly what that meant it made him reconsider running for
office.



Brother McConnel is personal friends with Jim Ryan who is the owner of a Local Union #98 signatory
contractor Par 4 Electric. Brother McConnel also works for Par 4 Electric quite often. Brother
McConnel told me that Business Manager Dougherty and Local Union #98 Agent Brian Eddis had a
conference call with Jim Ryan regarding Tim McConnel running for e-board and how that may not
be good for the Local Union. Again, Brother McConnel said there were no direct threats but again
made him feel uncomfortable.



Brother McConnel told me that even though there were no direct threats he felt that it would be best
for him not to run for office. Brother McConnel said his brother in-law was a Local Union #98
apprentice and he was good friends of Par 4 Electric owner Jim Ryan and even tough there were no
direct threats he was worried there might be some reprisal against himself and his friends and family
if he continued to pursue office.




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 I asked Brother McConnel if our conversation was an official complaint claiming intimidation of a
 candidate running for office. Brother McConnel said he personally made the decision not to run and
 does not want to file an official complaint and is not interested in pursuing any type of charges.
 Brother McConnel told me he was not apart of the complaint from Charles Battle but apparently, he
 just wanted to discuss the issue with someone.




 If you have any questions or require additional information regarding this matter please contact me.


 Best wishes,

 Fraternally yours,


Randy L. Kieffer

 Randy L. Kieffer

 International Representative IBEW




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    Exhibit 3
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    Exhibit 4
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                                       International . Brotherhood
                                          of Electrical Workers
Michael D. Welsh, International Vice President                           Lonnie R. Stephenson, International President
500 CHERRINGTON PARKWAY, SUITE 325                                 Kenneth W. Cooper, International Secretary-Treasurer
CORAOPOLIS, PA 15108
(412) 269-4963 • Fax (412) 269-4964

                    New York                 New Jersey           Pennsylvania               Delaware




                                                            July 31, 2020




   By Certified Mail
   Charles Battle
   2548 Brooke Road
   Pennsburg, PA 18073

   Dear Brother Battle:

   This is in response to your letter dated June 16, 2020, in which you protest the election of officers for IBEW
   Local Union #98. Nominations for officers of Local #98 occurred on June 9, 2020. Because there was no more
   than one nominee for each office, the election scheduled for July 11, 2020, was not held, and those nominated
   were deemed elected.

   In accordance with the IBEW U.S. Local Union Election Guide, p.7, "[a]ny member, including a defeated
   candidate, may challenge an election by filing a written protest with the appropriate International Vice
   President ... within 30 days of the certification of the election results." Your June 16, 2020, letter was
   received by my office on June 22, 2020, and is a timely protest.

    As you know, I assigned International Representative Randy Kieffer to investigate your protest. He has
    reported to me, and for the reasons set forth below, I deny your protest. Your protest raises six issues, each of
    which is addressed below:

    1) You allege that Local #98's nomination notice was unlawfully vague and did not provide specifics with
    respect to seconding or nominating. You state that the Department of Labor's (DOL) guidelines state that
    whether a nomination is required to be seconded must be included in the notice.

    DO L's regulations, rather than its guidelines, are binding. Those regulations state that the notice for
    nominations must be "reasonably calculated to inform members of the offices to be filled in the election as
    well as the time, place, and form for submitting nominations." 29 CFR § 452.56. Local# 98's notice
    unquestionably sets forth the offices to be elected, and the time and place for nominations. It also clearly
    stated that nominees would have to submit an acknowledgement of their willingness to be nominated, and
    when the acknowledgement needed to be received. I read your protest to contend that the notice needed to
     do more and was required specifically to set forth that you could self-nominate. I disagree.




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First, the IBEW U.S. Local Union Election Guide does not require that the notice for nominations state that a
member can self-nominate. Indeed, the Election Guide contains a model notice, which does not state whether
a second is required, or whether a member can self-nominate.

Second, your contention regarding the guidance given in DO L's election guide is mistaken. That guidance
states that the notice "should" include 11 details such as whether a nomination must be seconded ... See
Figure 3 - Nomination Notice." DOL's own model nomination notice that is referred to in the quote upon
which you rely-" (Figure 3)" - does not state anything about whether a second is required. Therefore, at
best, the guidance means that where a second is, in fact, required, that requirement should be set forth in the
notice. But where, as here, a second is not required, and a member can self-nominate, those details need not
be included in the notice.

2) You contend that Local #98's form required you to list a member who would nominate you, and another
member who would second. Your protest states, 11 at this point it was clear to me that the rules had changed
and that this was a pure attempt to intimidate me not to follow through with running for office."

First, if as you contend, 11 the rules had changed," then you can hardly contend that the notice was inadequate
because you must have thought that you could self-nominate. Second, the form did not require a second. In
fact, there is no place on the form to list anyone who would be seconding the nomination. Instead, the form
sought the identity of the nominator and the candidate to be nominated. Although there are separate spaces
for each, nowhere does the form indicate that the nominator and candidate have to be different people.
Instead, if you wanted to self-nominate, you could have listed yourself in both spaces. You indicated to
International Representative Kieffer that, although you were pretty sure you could nominate yourself, you
questioned your own judgment. Then, rather than ask someone for clarification, you took the paperwork,
went to your car to contemplate what to do, and then left. You did not return the paperwork, nor attend the
meeting. Nor did you ask for clarification from anyone. If you had any questions about the forms, there were
 Local #98 officials present to answer them. But, instead of asking any questions, you simply left.

3) You assert that the sign that Local #98 placed on its door on the day of nominations, 11 was a ploy ... to
intimidate [you]" because it said that you would need three people present. The sign did not say that.
Instead, it stated that only the candidate, nominator and member seconding the nomination would be allowed
in. That doesn't mean that a candidate must have had a nominator and a second to enter, but rather only that
all three types of individuals- and only those -would be admitted. Again, if you had any question whether
you could nominate yourself, you could have inquired. But you chose not to do so and left.




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4) You also contend that you should have been able to see who had filled out a form seeking office. You claim
that if it had been an "in-person election," you would have been able to see who else was running.
Presumably, you mean that if the nominations were in person, you would have been able to see who else had
been nominated.

The nominations were conducted in person. If you had filled out the form, you would have been given
admission to the meeting, and at the meeting you could have seen who was nominated, no differently than at
any other meeting. Here, the only difference ls that admission was limited, and candidates had to - consistent
with the notice - complete an acknowledgement indicating a willingness to run in advance so Local #98 could
control the size of the meeting in light of the COVID-19 crisis and City of Philadelphia rules.

5) You also claim that the member who was going to nominate you was intimidated by Local #98. That
member, however, would not speak with International Representative Kieffer, and therefore, this allegation is
without evidence. At your request, Representative Kieffer did speak to a member who said that he had
contemplated running for office but had decided not to do so. That member said that he had considered
running on his own, not as a part of a ticket, and did not assist you with your campaign. He also stated that he
was not part of your protest, did not want to file his own, and had made his own personal decision not to run.

6) Finally, you allege that Local #98 business agent Bob Bark tried to intimidate you into not running, and
when you thought about Brother Bark's actions, you left Local #98 on the day of nominations. The
investigation showed that Brother Bark and you were, at one-point, personal friends for years. The first time
Brother Bark came to your house, the two of you went and had drinks together. During that time together,
Brother Bark tried to understand why you had. become upset at recent general membership meetings. There is
no evidence that Brother Bark tried to intimidate you into not running during that encounter. Subsequently,
on another occasion, Brother Bark came to your house with Brother Rich Kee. At one point in the past, you
invited Brothers Bark and Kee to your home for Thanksgiving dinner, and thus, you clearly knew Brother Kee.
 Regardless, when Brothers Bark and Kee came to your home to speak with you, you became angry and
directed them to leave. They did so, and I do not find that either Brother Bark or Brother Kee came to your
 house to intimidate you into not running for office.




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Charles Battle
July 31, 2020
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Accordingly, for the reasons set forth above, I am denying your election protest. Pursuant to the IBEW U.S.
Local Union Election Guide, this is a final internal union decision.

Best wishes.

                                                        Fraternally,




                                                         Michael D Welsh
                                                         International Vice President


MDW:jm

cc;      Randy Kieffer, International Representative




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    Exhibit 5
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                                            STATEMENT

 I, Charles Battle, residing at 8710 Lykens Lane, Philadelphia, PA 1912~ make the following
 voluntary statement to Angela B. Menges and lllfPtftl/J {//?a'('rtt/tl'c lq'            who have
 identified themselves to me as Investigators of thevOffice of Labor-Manag ement Standards, U.S.
 Department of Labor. Investigators Menges and Utz~t{)d i)if                    have advised me
 that they are conducting an official investigation for the U.S. Department of Labor, Office of
 Labor-Manag ement Standards, pursuant to the Labor-Management Reporting and Disclosure Act
 of 1959 (LMRDA).



 I, Charles Battle, have personal knowledge of all of the facts in this statement.

 I am employed as an electrician for Shaeffer Electric. I have been a member of IBEW Local 98
 for 30 years.

 I was going to run for president on a slate with Timothy McConnell and Michael Coppinger,
 both of whom intended to run for the executive board positions. I did not campaign because I did
 not want to tip my hand and get blowback from the local. My family would have been harassed,
 and I would have received phone calls from members and officers asking, "What are you
 doing?"

I have stood up during membership meetings and said some hard words for Business Manager
John Dougherty. It's a disgrace the way the union is being run. It's a problem when members
don't have a voice or say and are told 'Do as I say and shut up."' Business Agent Bobby Bark
has called me numerous times in the past after membership meetings asking, "What are you
doing? Why are you asking questions?"

I got calls from Bark after the November 2019 membership meeting and after the January and
February 2020 meetings. Bark also came to my job site and harassed me on two occasions. Bark
showed up at my home after a membership meeting in January 2020 where I stood up and asked
Dougherty if the local was going to get back money it had donated to a man who actually stole it.
I was working in my garage when I received a phone call from Bark saying he wanted to speak
with me. Bark told me he was standing in my driveway. My wife was scared because a union
officer showed up at our house. I agreed to go out with Bark to get him away from the house.

One week before the nomination meeting, Bark wanted to talk with me over beers and I told him
no. I kept asking Bark what he wanted, but Bark would not say. On Sunday, June 7, 2020 - two
days prior to the nomination meeting - my doorbell rang at 8:30 p.m. Bark showed up
unannounced and uninvited. I asked him, "What are you doing? I made it clear do not come to
my house for this B.S. !"

Bark wants to know why I'm so upset with the union. I've said to Bark, "I can't ask questions
without being harassed." Bark wants to know why I'm questioning their leaders, and I've told
him I'm a dues-paying member and I have a right to do so. Ask any person in the local -
they're afraid to stand up and ask questions. They're petrified of what's going to happen because
you're not going to work. I'm currently working because my contractor knows Dougherty and

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        how he operates. However, I know guys who have been out of work two years because of
        Dougherty. One such member is Rob Mission. Once the unemployment rate gets so high, we go
        to a 50/50 list and solicit our own job (SOJ). You can't take a job unless the hall hires four guys
        off the list. If you take it, the contractor is going to pay a price, so the contractor is not going to
        hire you.

        On June 7, 2020, the Sunday before the nomination meeting, I learned that McConnell and
        Coppinger, my intended running mates, were not going to run for office. McConnell told me that
        Dougherty talked to McConnell on the phone and said, "You're either with us or against us. If
        you're against us, it'll be a long three years."

        I entered the union hall at 4:50 p.m. on June 9, 2020, and was handed a nomination slip by Local
        98 Attorney Tara Chupka. The nomination slip asked for the name of the nominee and the office
        for which he was being nominated; the name, signature, and card number of the nominator; and
        the name, signature, and card number of the nominee. I completed the slip with my own
        information and gave the slip to Chupka. Coppinger, who was supposed to nominate me, had not
        yet arrived at the union hall to complete the nominator portion of the form. I told Chupka when
        my nominator arrived, he would fill out his portion. I did not tell Chupka the name of my
        nominator.

       Word quickly spread that I had submitted my nominating slip. After I submitted the slip, I sat in
       my truck to wait until the nomination meeting began at 7:00 p.m. Ten minutes after submitting
       my slip, member David Kelly called and asked me if I was running for president. Kelly lives in
       Flourtown, Pennsylvania. I was blown away that the news had reached Flourtown so quickly.
c__g   S i t - t . m ~ , ~ bu~ess agents going around talking to the crowd that had gathered.
       Member Dominic Bassichfua,• srr'id the business agents told him they heard he was going to
       nominate me for office. Bassiano had no idea I intended to run for office. I think the agents were
       fishing to find out who was doing what.

       I sat in my truck until 6:40 p.m. and then went to the hall to meet up with members John Kerr
       and Phil Borthwick, who were among those gathered outside the union hall. At 6:50 p.m.,
       Coppinger called Borthwick and told him he was not coming to nominate me. It was at that point
                                                                                                                           i
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       I learned that Coppinger had been intimidated out of      · g for office. ome 1me etween 5:00              an:1,d-: r>j   11-
       and 6:50 p.m. on June 9, 2020, Coppinger received a phone call from his uncle, Ed Coppinger.
       Ed Coppinger used to be a Local 98 business agent. Dougherty had called Ed Coppinger, who
       relayed the message to his nephew Mike Coppinger. Mike Coppinger was told his career would
       be finished if he ran. Mike Coppinger is young and has a wife, child, and mortgage - a lot at
       stake.

       When we learned Coppinger was not coming, Kerr and Borthwick expressed willingness to
       nominate me instead. However, I was scared for them. I told Borthwick, "We're cows walking to
       the slaughterhouse." We would have to walk the gauntlet, down a walkway past 300 guys to the
       hall. With this in mind, as well as both of my running mates now out of the race and having just
       learned Coppinger was not coming to nominate me, I was intimidated. I saw how aggressively
       they were trying to find out who nominated me. Out of 3,500-4,000 members in the local, they
       zeroed in that fast. I told Kerr and Borthwick, "Let's just leave and deal with this another day."
       Kerr later told me he was glad I decided not to run. I didn't know at the time that I could


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nominate myself. If I'd known that, there's not a chance I'd put anyone else or their career in
jeopardy. They'd already be out of work by now if they had gone through with nominating me.

I left at 7:05 p.m. without attending the meeting or attempting to do so. The local has a pattern of
intimidating people out of running. If they're on the outs with a guy, the hall will tell the
contractor, "The next five guys we send you are bums," so the contractor fires the guys. The
owner of contractor Par 4 is good friends with McConnell and told McConnell this.

I declare under penalty of perjury that the foregoing statement consisting of three pages, each of
which I have initialed, is true and correct.

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           Date




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    Exhibit 6
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                                                          STATEMENT

                I. Timothy McConnell, residing at 119 Thorndike Road, Philadelphia, PA 19 I 15, make the
                following voluntary statement to Megan Underwood and Angela B. Menges who have identified
                themselves to me as a District Director and an Investigator of the Office of Labor-Management
                Standards' , U.S. Department of Labor. District Director Underwood and Investigator Menges
                have advised me that they are conducting an official investigation for the U.S. Department of
                Labor, Office of Labor-Management Standards, pursuant to the Labor-Management Repo11ing
                and Disclosure Act of 1959 (LMRDA).




               I, Timothy McConnell, have personal knowledge of all of the facts in this statement.

               I am an electrician and have been employed by the Gordon Group for a little over two years. l
               have been a member of IBEW Local 98 si.nce 2004.

               Everything was hush hush in the beginning with names as far as who was running for office. I
               knew from member Phil Borthwick that other members were thinking of running, including
               Charles Battle. I did not attend any of the meetings those members held because I wanted to keep
               to myself. I didn't want it getting back to the union. 1 tried to keep my intention to run to myself
               until the very end. There were times I had guys calling me asking, " Who' s running? Who do you
               know?" I said nothing.

               Initially, I was not completely certain I was going to run. I know a few of the Local 98 business
               agents and Local 98 Safety Director Mark Lynch. For that reason, I thought it might have caused
               some tension if I ran. I am a committeeman in the City of Philadelphia. I see the way things are
               handled if you go against John Dougherty.

            My uncertainty also stemmed from what I heard other members endured in the past.. Two terms
   -(M     ago in 2014 or 201 5, two members tried to run for office and one of them" Ken. Rocks, went
           through a lot of allegations against him because of it. It was hard for Rocks to find jobs after the
    L   ~ election because there would have been repercussions if a company hired him. They' ll p ut a
~ "c,ar; steward on the job who will make the job harder to finish, and that costs the company. It' s 50/50
 ..        - for every guy you hire, they give you one more who's bad. It's one thing after another. They
 _     ,_-fi2u~oyt a way. Rocks had a good reputation and then couldn't find jobs after that After that
           electi~ Rocks was brought up on internal union charges and was fined $50,000 for whatever
           they said he did. Rocks appealed the charges to the IBEW International and won - his charges
           were overturned. Local 98 has never had an election. Ken Rocks was the only one who ever ran
           for office in the years I havt: been a Local 98 member.

              I had been thinking of running for an executive board position for about six months. I made my
              final decision to run on June 8, 2020, the day before the nomination meeting. I sent a text
              message to Safety Directo,r Lynch on June 8, 2020, to let him know I was going to run. I have
              known Lynch since he was about IO or 11 years old. I texted Lynch because I knew the business
              agents were going to be having a meeting at the union hall that night to discuss their potential
              opponents and their nominators and to try to devise a strategy for eliminating the opposition. I

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told Lynch if anyone had questions they could call me. Five seconds later, Lynch called me from
the union hall. [ was in my backyard when I received the call.

 Business Manager Dougherty got on the phone and talked with me for about 45 minutes. It was
 unusual because I had never talked with Doughe1ty like that before. I had only shaken his hand
 and exchanged a brief greeting with Dougherty a few times over the years. Dougherty asked me
 who I worked for. We talked about jobs, past business agents, politics, and who I was friends
 with. I don't even talk to any of the people he mentioned. I thought Dougherty was just trying to
 figure out where I was coming· from. I knew the business agents were there and were probably
 listening. I heard one of the business agents say, "I never would've thought it was him."

Dougherty began the conversation by saying, "Tim, why are you running? Why do you want to
fix something that isn' t broken?" I told him, "John, obviously something is broken. There are
federal charges against five or six people." Dougherty responded, " Don't worry about it. I'm
gonna beat it."

Dougherty told me, "It'll be a long three years if you lose." Every time Dougherty would say a
row1dabout threat, I would tell him, "John, [ get it." It got bad toward the end. Dougherty told
me, "They' re just trying to use you to run because they started this website." Dougherty was
referring to a website called " Know the Truth About Your Union.com." I did not know about the
website at that time. At some point Dougherty handed the phone back to Lynch. I then heard
Dougherty screaming in the background. I thought Dougherty was reading a comment on the
website. Dougherty took the phone back and shouted at me, "If you ain't with me, you' re against
me!" Dougherty went on screaming for 30 seconds and then hung u p ~ n e before I had a
chance to sayLanyt}1.ing. Despite this, I still planned to go through wit;h runn~i-> ;-.
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Lynch called roe baek after Dougherty hung up QR me. After that call, my phone blew up. I sat in
my backyard for four hours fielding non-stop phone calls. I received a phone call from Business
Agent Rodney Walker later in the evening. I probably received 100 calls that night.

I called Battle and Borthwick to tell them what happened. They told me to get in touch with
member Mike Coppinger. I did not know Coppinger but knew he was thinking of running for
office. Coppinger told me he was taking a nap and woke up to 50 calls. Coppinger told me, "I' m
out. It ain't worth it." I was surprised because all along Battle and Borthwick said Coppinger was
100% in. I' m not certain why Coppinger did not run, but I'm sure Coppinger got a call.
Coppinger's uncle was a Local 98 business agent for years and was around the office a long
time. I guess Dougherty probably reached out to the uncle who probably called Coppinger.
Coppinger has young children, and that may have factored into his decision not to run. Once
Coppinger was out, it was down to me, Battle, and the other guy I did not know. The other guy
also dropped out, but I did not know anything about it. Once everyone e lse dropped out, I did
too.

Dougherty also gm: to me through my friend James Ryan, w ho owns a company called Par 4
Electric. I have worked for Ryan six or seven times. On the same night as my call with
Dougherty, Ryan was contacted by Brian Eddis, who is a Local 98 member and a local
politician. According to Ryan, Eddis called Ryan and while on the phone with Ryan, Dougherty
got on the phone. Dougherty told Ryan, "Call Timmy. We don't want to see Timmy get hurt by
doing this." I took that as losing jobs - not physically hurt, but l more or less knew he meant

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 financially. I think Dougherty probably started looking up what jobs I had yVOrked. I talked with
 Ryan the following morning, June 9, 2020. Ryan said to me, "I guess you decided to run." Ryan
 said he told them, "Timmy's a grown man. There's nothing I can say to change his mind." They
 also called Paul Diaz, a steward with whom I worked for three years.

  I ultimately decided not to run because I did not want to jeopardize my job. Business Agent
  Bobby Thompson runs the downtown Philadelphia area, where I work along with 40 to 50 other
  members. They can always whisper in the foreman 's or owner's ear, ''I want you to lay this guy
  off." This has happened to many members, but Rocks is the one who went through it the most.
  People have been removed from different jobs at some points, but there's no way to prove that it
  happens - you '11 never be able to. Dougherty sends people to do it. I cannot afford to lose my
 job because I have four young children. I would have a financial hardship. They would take my
 job ifl ran.

I was also thinking about my brother-in-law who is a second period apprentice. I just got him
into Local 98 one or two years ago. Safety Director Lynch and Business Agent Rodney Walker
helped me. I knew that Dougherty knew about my brother-in-law. My brother-in-law is still in
school, and I thought Dougherty could possibly fail him or somehow figure out how to get to
him too. My other brother-in-law works for Hatzel & Buehler, an electrical company. I was more
afraid for my brothers-in-law than for myself. That' s pretty much what held me back from
coming out earlier about running for office.

Sometime between lunch and the end of the day on June 9, 2020, I received a text message from
an unknown number. I was included in a group text with 13 other phone numbers I did not
recognize. The text contained a link to the website, "Know the Truth About Your Union.com." I
did not know the site existed until I received the text. Safety Director Lynch sent a text message
to me asking, " Why did someone send you this website?" Someone in that group obviously
already sent the message back to them.

I sent a text message to Safety Director Lynch and told him, "I don't want it to be personal. l'm
out because I don't agree with what's on that website." After Dougherty screamed at me about
the website, I went onto the site to see what it was about. Someone had made a comment about
Dougherty's wife to the effect of, "John hides behind his sick wife." I believe Dougherty looked
at the website and thought ofme as "You're with them, so you're a part of it."

I am out because of how nominations went and because multiple people told me the same story,
that they know Dougherty-he's bigger than all of them. He'll go above them. He'll find a way.
Everyone knows how it is. No one's going to run. Once Dougherty is gone, you' ll see 100 people
running for office.




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I declare under penalty of perjury that the foregoing statement consisting of four pages, each of
which I have initialed, is true and correct.                          ~


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    Exhibit 7
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                                            STATEMENT

I, Philip Borthwick, residing at 4002 Pechin Street, Philadelphia, PA 19128, make the following
voluntary statement to Angela B. Menges and MftjQr\ Uodea.,uo.Qq                       who have
identified themselves to me as Investigators of the Office of Labor-Management Standards, U.S.
Department of Labor. Investigators Menges and UQderwc,,o{ have advised me that they
are conducting an official investigation for the U.S. Department of Labor, Office of Labor-
Management Standards, pursuant to the Labor-Management Reporting and Disclosure Act of
1959 (LMRDA).



I, Philip Borthwick, have personal knowledge of all of the facts in this statement.

I am employed as an electrician for the Gordon Group. I have been a member of IBEW Local 98
since October 1996.

After Charles Battle began asking questions at membership meetings in November 2019, people
began to talk. Battle, Timothy McConnell, and Mike Coppinger all wanted to see change in the
union. About six months before the nomination meeting, little garage meetings were held. In our
neighborhood, we might've had 15 people at our garage meeting. Coppinger told me he had 60 to
80 guys show up at his garage meeting. McConnell was in the middle like me. McConnell
eventually said, "Maybe I'll jump in," meaning run for office. McConnell is more knowledgeable
than most members and understands politics.

Someone leaked about the garage meetings and it got back to Dougherty. Dougherty said, "Stop
everything. I want to know what's going on." Dougherty sent his business agents to Coppinger
and they asked him, "What's going on? Why are you having these meetings?" They did not realize
Coppinger was thinking of running for office. .                 ·,   ~
                                            cy Coff)INC/e/l ~ 0 ·
I was trying to keep Battle and McConnell a secret, but eVentually I decided to connect them with
each other. When Battle appeared to be moving ahead with his plans to run for office, I said to
him, "Mike's in. Why don't you guys talk to each other? You know, strength in numbers." I did
not know which position Battle wanted until the last minute. You have to keep quiet because
Dougherty will put the fire out before it even starts. You' re better off leaving it until the very encl
because they'll discredit you right off the bat. It happened so fast - Dougherty got to Battle
through other guys. That's how far he'd go to make sure these guys didn't run.

No one was going to try to take Dougherty's position. Battle was going to run for president. The
president and vice president positions are the weakest; they rubber stamp everything. Dougherty
has them all in his pocket. McConnell was going to run for an executive board position. I thought
Coppinger was also going to run for an executive board position, but Coppinger never really said
it. Coppinger was the key because he and Battle have great reputations. Everyone thought, If
Coppinger runs, that's the game changer. Coppinger is a great guy and is very funny. If anyone
scares the union the most, it's him because he's so well-liked- he comes with votes. He was the
biggest one they wanted to shut clown because of those votes. McConnell knows a lot of people,
but not as many as Coppinger and Battle.


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I arrived at the union hall on June 9, 2020, around 5:00 or 5:30 p.m. There were about 150 people
on the grounds of the union hall that night, all from Dougherty's neighborhood. That's 1vvhat
Dougherty does - he fills the hall with his supporters. I knew from the nomination notice that
members had to give advance notice if they wanted to attend the meeting. They had to go into the
building where all the business agents were. Battle entered the building and filled out a paper.
They knew he was coming; they expected it. After he filled out the paperwork, Battle was nervous
and pacing, wondering what was coming.

I stayed on the grounds of the union hall until about 7:30 or 8:00 p.m. I was waiting for Coppinger
to arrive, as it was still up in the air with guys going in to get nominated. I knew at that point
McConnell was not coming. Coppinger showed up minutes before the meeting started. Battle was
really counting on Coppinger to nominate him. If there was anyone they couldn't shake, it would
be Coppinger. Coppinger knows everyone. When Coppinger showed up, he called McConnell and
told him, "I'm out," meaning he was not going to tun for ofiice. Coppinger never put his paperwork
in to run.

I called Battle, who was in his car, and told him Coppinger was out. Battle was angry that they had
gotten to Coppinger. The only saving grace was only a few people knew who was nominating
Battle. I told Battle, "We're like lambs going to slaughter." Battle told me, "I don't want to put
you or your job in jeopardy," and I respected him for that. If OLMS were to supervise a rerun
election, I would nominate Battle.

Kerr also backed out of nominating Battle because Kerr was scared. I did not know who was going
to nominate McConnell or Coppinger. I would have nominated them until I saw what happened to
Coppi~ger._ Coppinger looked scared to dea:h. Fd rrc vct ha ce ,hoMgli.t. If so111ci°11c }umped me 01
'.)lSDfew to f1g111 we, €'e,ppinger would be ul 11A. But Coppinger does not have a ot o money. He's
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got three kids, a mortgage. What would he do without benefits? I wondered why Coppinger even
put up a fight to begin with.

I thought about Kenny Rocks. I thought, What' 11 happen to me in a month or six months down the
line? I'm usually the last to be laid on: then suddenly I'd be the first - like Kenny Rocks. Rocks
suffered retaliation after an OLMS-supervised election in 2014. Rocks had protested the initial
election to OLMS and was ultimately a defeated candidate in the supervised election. Rocks was
out of work for quite a bit and had a hard time getting work. This was a retaliatory measure by the
union. Dougherty doesn't care about you or your family. He chokes you off financially and lets
everyone know. No one b,a,s / / / opp9sed D<jugherty. Rocks was the only one.i11. 2~i:tr5.        A)~
5111/t:€ I lilF/S IN. ,e /o(!F//                to   eveK       <!h/l//'t',,1v9e         ~Cr     f_J../,.
McConnell and Coppinger were both intimidated out of running for office. The union figured out
who was who by calling around. McConnell told me he got a phone call one or two days before
the nomination meeting from Dougherty. Dougherty never calls from his own phone. They all
have burner phones. We joke and call them the "Bat phones." When McConnell got the phone
call, he called Coppinger. McConnell said he was on the phone with Doughe1iy for about an hour.
He said at first the call was cool - everything was fine. They were talking politics and Doughe1iy
was talking about what direction he was going. He was talking to McConnell because McConnell
knows people. McConnell said Dougherty was reading the website "The Truth About Your
Local.com" and suddenly started cursing. He said to McConnell, "Make your effing mind up -
you're either with me or against me!"


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Brian Eddis, a politician, delivered a message to McConnell from Dougherty: "You've got a lot of
years left and you won't be working for a lot of them." McConnell is also friends with an electrical
contractor who owns a company called Par 4. They said we'll run this guy out of business if
McConnell runs for office. I could tell McConnell was shaken - I could hear it in his voice he
was scared. I asked McConnell, "You're not even going to try to run?" McConnell said, ;;Nope.
I'm out."

I called Coppinger after the nomination meeting. I know who talked Coppinger out of it and what
they said. Coppinger has been with a contractor for nine years, which is unheard of, and he could
not risk losing that. I have never had anything happen to me personally. I don't feel physically
threatened because I can handle a physical altercation. But you don't do it to a guy financially.



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I declare under penalty of perjury that the foregoing statement consisting of three pages, each of



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    Exhibit 8
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LAMB McERLANE PC                                                                      Filed and Attested by the
Joseph R. Podraza, Jr., Esquire (ID No. 53612)                                       Office of Judicial Records
William H. Trask, Esquire (ID No. 318229)                                                20 AUG 2020 04:18 pm
One South Broad Street – Suite 1500                                                            M. RUSSO
Philadelphia, PA 19107
(215) 609-3170
(610) 430-8000                                                          Attorneys for Plaintiffs

                                                         :
 IBEW, LOCAL 98, ROBERT BARK, And                        :
 ROBERT THOMPSON,                                        :
                                                         :    IN THE COURT OF COMMON PLEAS
                               Plaintiffs,               :    OF PHILADELPHIA COUNTY
                                                         :
                          v.                             :    Trial Division
                                                         :
 CHARLES BATTLE, JEANETTE                                :    July 2020 Term
 BATTLE, ADMINISTRATOR                                   :
 www.thetruthaboutyourlocal.com                          :    No. 001106
 www.truthaboutyourlocal.com,                            :
 COMMENT,                                                :
 www.thetruthaboutyourlocal.com                          :
 www.truthaboutyourlocal.com, et al.,                    :
                                                         :
                               Defendants.               :
                                                         :

                                             NOTICE TO DEFEND


                       NOTICE                                                       AVISO

                                                             Le han demandado a usted en la corte. Si usted
 You have been sued in court. If you wish to defend
                                                             quiere defenderse de estas demandas expuestas en
 against the claims set forth in the following pages,
                                                             las paginas siguientes, usted tiene veinte (20) dias de
 you must take action within twenty (20) days after
                                                             plazo al partir de la fecha de la demanda y la
 this complaint and notice are served, by entering a
 written appearance personally or by attorney and            notificacion. Hace falta ascentar una comparencia
 filing in writing with the court your defenses or           escrita o en persona o con un abogado y entregar a
                                                             la corte en forma escrita sus defensas o sus
 objections to the claims set forth against you. You
                                                             objeciones a las demandas en contra de su persona.
 are warned that if you fail to do so the case may
                                                             Sea avisado que si usted no se defiende, la corte
 proceed without you and a judgment may be
                                                             tomara medidas y puede continuar la demanda en
 entered against you by the court without further
 notice for any money claimed in the complaint of            contra suya sin previo aviso o notificacion. Ademas,
 for any other claim or relief requested by the              la corte puede decider a favor del demandante y
                                                             requiere que usted cumpla con todas las provisiones
 plaintiff. You may lose money or property or other
                                                             de esta demanda. Usted puede perder dinero o sus
 rights important to you.
                                                             propiedades u otros derechos importantes para
 You should take this paper to your lawyer at once.
                                                             usted.
 If you do not have a lawyer or cannot afford one,
 go to or telephone the office set forth below to find       Lleve esta demanda a un abogado immediatamente. Si
 out where you can get legal help.                           no tiene abogado o si no tiene el dinero suficiente de




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   Philadelphia Bar Association     pagar tal servicio. Vaya en persona o llame por
         Lawyer Referral            telefono a la oficina cuya direccion se encuentra
     and Information Service        escrita abajo para averiguar donde se puede conseguir
       One Reading Center           asistencia legal.
 Philadelphia, Pennsylvania 19107                 Asociacion De Licenciados
          (215) 238-6333                                  De Filadelfia
        TTY (215) 451-6197                         Servicio De Referencia E
                                                       Informacion Legal
                                                      One Reading Center
                                                Filadelfia, Pennsylvania 19107
                                                         (215) 238-6333
                                                      TTY (215) 451-6197




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LAMB McERLANE PC
Joseph R. Podraza, Jr., Esquire (ID No. 53612)
William H. Trask, Esquire (ID No. 318229)
One South Broad Street – Suite 1500
Philadelphia, PA 19107
(215) 609-3170
(610) 430-8000                                               Attorneys for Plaintiffs

                                                 :
 IBEW, LOCAL 98, ROBERT BARK, And                :
 ROBERT THOMPSON,                                :
                                                 :   IN THE COURT OF COMMON PLEAS
                           Plaintiffs,           :   OF PHILADELPHIA COUNTY
                                                 :
                      v.                         :   Trial Division
                                                 :
 CHARLES BATTLE, JEANETTE                        :   July 2020 Term
 BATTLE, ADMINISTRATOR                           :
 www.thetruthaboutyourlocal.com                  :   No. 001106
 www.truthaboutyourlocal.com,                    :
 COMMENT,                                        :
 www.thetruthaboutyourlocal.com                  :
 www.truthaboutyourlocal.com, et al.,            :
                                                 :
                           Defendants.           :
                                                 :

                                COMPLAINT – CIVIL ACTION
                                 (Tort – 2L: Libel and Slander)



       Plaintiffs, International Brotherhood of Electrical Workers, Local 98 (“Local 98”),

Robert Bark and Robert Thompson, bring this action for defamation against Defendants, Charles

and Jeanette Battle, H/W, and Administrator(s) and Anonymous Commenters of the websites

www.thetruthaboutyourlocal.com and/or www.truthaboutyourlocal.com, and in support thereof,

aver as follows:




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                                           Introduction

       1.      This defamation action arises out of false and defamatory statements concerning

Local 98 and Messrs. Bark and Thompson, officers of Local 98, published by and on

www.thetruthaboutyourlocal.com and/or www.truthaboutyourlocal.com, websites created for the

stated purpose of disparaging Local 98 and its officials. The pertinent statements, detailed below,

lack any basis in fact and were published in disregard for their falsity and for the good reputations

of the private individuals and organization whom the posters attacked. These statements were

accessible through the Internet and did reach individuals in Pennsylvania and throughout the

United States and the world. These statements tarnished the Plaintiffs’ reputations and caused the

individual Plaintiffs distress and embarrassment. The egregious nature of the Defendants’ conduct

is exacerbated by the fact that these Defendants have hidden behind a veil of anonymity to defame

these Plaintiffs and have boasted of their anonymity and taken steps to further conceal their

identities. Plaintiffs now seek to fully redress the harm caused by the Defendants’ cowardly and

unconscionable acts.

                                              Parties

       2.      Plaintiff Local 98 is a local affiliate of the International Brotherhood of Electrical

Workers labor union, with its principal offices located at 1701 Spring Garden Street, Philadelphia,

Pennsylvania 19130. Its mission is to provide electrical contractor partners with the best trained

and skilled workforce in the electrical industry. It additionally is actively involved in the

communities of its members and, through its members, supports many diverse community

activities ranging from park clean-ups to church-sponsored outreach programs.




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       3.      Plaintiff Robert Bark (“Bark”) is an adult citizen and resident of Pennsylvania, and

is an officer of Local 98, serving for several years as its Business Agent. Bark maintains a business

address at 1701 Spring Garden Street, Philadelphia, Pennsylvania 19130.

       4.      Plaintiff Robert Thompson (“Thompson”) is an adult citizen and resident of

Pennsylvania, and is an officer of Local 98, serving for many years on its Examining Board and

as its Business Agent. Thompson maintains a business address at 1701 Spring Garden Street,

Philadelphia, Pennsylvania 19130.

       5.      Defendants Charles and Jeanette Battle, husband and wife, (“Battles”), are adult

citizens and residents of Pennsylvania. Charles Battle is a member of Local 98 and he and his wife

are creators and/or administrators of the websites www.thetruthaboutyourlocal.com and

www.truthaboutyourlocal.com. The Battles have deliberately concealed their identities and the

identities of others with whom they have collaborated and conspired to publish defamatory

statements on both websites. The Battles reside at 8710 Lykens Avenue, Philadelphia,

Pennsylvania 19128. It is believed and therefore averred that at least one act of collaboration and

conspiracy involving each administrator of the websites www.thetruthaboutyourlocal.com and

www.truthaboutyourlocal.com was completed in June 2020 at the Battles’ residence located at

8710 Lykens Avenue, Philadelphia, Pennsylvania 19128.

       6.      Defendant Administrator is/are individual(s) and/or entity(ies) who, along with the

Battles,    have    administered      the    websites     www.thetruthaboutyourlocal.com         and

www.truthaboutyourlocal.com. Each administrator has deliberately concealed his/her/its identity

and the identifies of others with whom they have collaborated and conspired to publish defamatory

statements on both websites. Upon information and belief, the Battles know the identities of each




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co-administrator        of    the       websites     www.thetruthaboutyourlocal.com          and

www.truthaboutyourlocal.com.

       7.      Defendant Comment(s) posted defamatory statements about one or more Plaintiffs

as more fully hereinafter described under the pseudonymous designation “Anonymous.” Upon

information and belief, the Battles know the identities of the authors of each comment on the

websites www.thetruthaboutyourlocal.com and www.truthaboutyourlocal.com upon which this

action is based as discussed below. Further, upon information and belief, the defamatory

statements posted about one or more Plaintiffs upon which this action is based were done in

collaboration and conspiracy with the Battles and each other administrator of the websites

www.thetruthaboutyourlocal.com and www.truthaboutyourlocal.com.

       8.      “Anonymous” is the designation given to identify the commenter or commenters,

the Battles, and each administrator of the websites www.thetruthaboutyourlocal.com and

www.truthaboutyourlocal.com who collaborated and conspired to post defamatory statements on

the websites www.thetruthaboutyourlocal.com and www.truthaboutyourlocal.com as discussed in

greater detail below.

                                    Jurisdiction and Venue

       9.      Jurisdiction over the Defendants in the Courts of the Commonwealth of

Pennsylvania is proper pursuant to 42 Pa.C.S.A. §§ 5301, 5308 and 5322.

       10.     Venue is proper as to the Defendants in the Court of Common Pleas of Philadelphia

County pursuant to Pennsylvania Rules of Civil Procedure 1006 (a) and (c) inasmuch as

Defendants caused the aforesaid defamatory publications to be published, republished and/or read

in Philadelphia County and at least one unlawful conspiratorial act upon which liability is based

was completed in Philadelphia County.



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                                              Facts

       11.     In or about June 2020, the Battles and their anonymous co-administrators created

and   published     websites   under    the   domains     www.thetruthaboutyourlocal.com       and

www.truthaboutyourlocal.com. See Email dated June 4, 2020 from Jeanette Battle to Icon Media

Works, LLC, the company retained to provide web design services, confirming the Battles’

involvement in the creation of the websites, a true and correct copy of which is attached hereto as

Exhibit “A.”

       12.     The websites also solicited comments from others, assuring would-be commenters

that the identities of any who posted would remain anonymous.

       13.     Moreover, the websites encouraged commenters to post comments which were

disparaging of Local 98 and its officials, including Bark and Thompson, and the websites were

edited to remove comments favorable to Local 98 and its officials, while retaining those comments

which impugned Local 98 and its officials.

       14.     Published on the websites were several false and defamatory statements about

Local 98 and its officers. A collection of representative defamatory representations referenced in

this pleading is attached and incorporated herein as Exhibit “B.”

       15.     Upon information and belief, the Defendants collaborated and conspired to author

and post false and defamatory statements about Bark on the websites, including:

               a.     Falsely representing he committed a crime (“Dude! I was on the job today

       and [a person] told me Local 98 Business Agent Booby Bark showed up at a members [sic]

       house on the front lawn and threatened him! What the F%#$! I knew Barkie was dum

       [sic] just not stupid! He better get a lawyer. What a dumb ass! Is this where our local

       [sic] is going! I am hearing Federal charges are coming…”);



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               b.       Falsely accusing him of a crime (“Barkie you better get a lawyer. You

       crossed the line this time. Federal intimidation charges.”);

               c.        Falsely representing he used extortion to sell tickets to a function (“Hey

       Barkie didn’t you tell me that if I didn’t buy a ticket to the Land down under party [sic] at

       Your[sic] buddy[‘s] place for 35 cash, that I would never get a job from [Local 98] again?

       Even after I told you that was my kids [sic] birthday that day! Just ASKING! Turn about

       [sic] is fair play.”);

               d.       Falsely representing he is an alcoholic with an extensive DUI history

       (“Barkie is too busy tying on a load. How many DUI’s [sic] are we up to now?”);

               e.       Falsely accusing him of rigging the results of a Local 98 election through

       unlawful acts of intimidation (“… Bark and others intimidated potential candidates into

       not going thru [sic] with the nomination process … “);

               f.       Falsely representing that he is an unfit father (“Happy Fathers day [sic]

       Bark. Oh wait [sic] do you even see or interact with your kids any more [sic]? From what

       I hear they hate your guts. Hope you have a great Father’s [sic] Day by yourself loser”).

       16.     Upon information and belief, the Defendants also collaborated and conspired to

author and post false and defamatory statements about Thompson on the websites, including:

               a.       Falsely representing that he hires, with the approval of Local 98’s other

       leaders, non-Union workers for his personal business (“Is this roofer Bobby Thompson

       uses? I heard he goes to non-union job sites to hire contractors for his house flipping

       business. ALL NON UNION [sic] of course… He’s making a fortune off of the local [sic]

       You can’t make this shit up. They Must [sic] have pictures of the 3 rd district [sic] Vice

       President fucking chickens or something. SMH.”);



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               b.     Falsely representing he fraudulently misappropriates wages from Local 98

       by pursuing personal financial opportunities during Union working hours (“Bobby

       Thompson is rumored to be our Business Representative trying to secure fair working and

       standards [sic] on all job sites but his own. With the permission of the Business Manager

       Bob hires Mexicans to dig out basements and non union [sic] contractors to renovate flip

       houses [sic] while charging his time to the Local Union.”).

       17.     As officers of Local 98, the above-quoted false and defamatory representations

posted about Barker and Thompson, while allegedly acting in their capacity as representatives of

the Union, reflect on and have equally harmed the reputation and business standings of Local 98

in the community.

       18.     Upon information and belief, the Defendants additionally collaborated and

conspired to directly defame Local 98 on the websites by, inter alia:

               a.     Falsely contending Local 98 is “Fuckin Doc Nazis;”

               b.     Falsely representing that Local 98 “[n]ow [] employ[s] crooks;”

               c.     Falsely disparaging Local 98 members as “South Philly Thugs;”

               d.     Falsely representing that Local 98 discriminates against minorities (Local

       98 “wouldn’t let a man of color in [its] house” and “… doesn’t understand that we are all

       human”);

               e.     Falsely vilifying Local 98’s leadership as the “thief team;”

               f.     Falsely representing that a longstanding Local 98 Business Representative

       “… stole 240k from the financial office;”

               g.     Falsely representing that Local 98 encourages and condones election

       results obtained through unlawful intimidation and fear (“If there were ever a fair election



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       where candidates could be nominated without intimidation and voters could vote without

       fear [Local 98’s present leadership] would be on the out of work list” and Local 98

       leaders including “… Bark and others intimidated potential candidates into not going thru

       [sic] with the nomination process … really you had to get ed [sic] off his couch to

       intimidate his own nephew PATHETIC [sic]”);

               h.      Falsely representing that the work environment at Local 98 condones

       “rape” of female journeymen by its officials (“It’s hard to be a woman trades member.

       Do you want to know how hard? [Former Union official] raped me in 2002. I’m going

       to tell my story”);

       19.     The above-quoted posts, and others since removed but nevertheless should be

preserved given the Defendants’ pre-removal receipt of a preservation of evidence letter, plainly

and simply criminally and otherwise falsely stigmatize Bark, Thompson, and/or Local 98. Each

of these posts is of a defamatory character.

       20.     Moreover, the substance of each representation in the quoted posts is provably and

categorically false.

       21.     It is clear that the Defendants’ false and defamatory publications apply to Bark or

Thompson and Local 98, and the Defendants intended that they refer to these Plaintiffs. The

anonymous postings specifically refer to one or more Plaintiffs by name.

       22.     Persons reading the false statements in the anonymous posts would understand the

statements’ defamatory meaning and would know that the defamatory statements were intended

to be applied to Bark or Thompson and/or Local 98.




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        23.     The publication of these loathsome statements falsely accusing one or more

Plaintiffs of criminal, immoral or otherwise wrongful misconduct constitutes defamation per se

for which harm is presumed.

        24.     There is no conditional privilege applicable here, behind which the anonymous

posters might hide to avoid liability for their loathsome, false and defamatory statements.

                                        Count I – Defamation
                                   (All Plaintiffs v. All Defendants)

        25.     Plaintiffs incorporate by reference the averments contained in paragraphs 1 through

24 of plaintiffs’ Complaint as though fully set forth at length herein.

        26.     Defendants authored and published the above-mentioned statements, innuendos

and     implications      concerning      one     or    more      Plaintiffs   on   the       website

www.thetruthaboutyourlocal.com and www.truthaboutyourlocal.com in June 2020, and Plaintiffs

commenced this action by Writ of Summons in July 2020.

        27.     The above-mentioned statements, innuendoes and implications concerning one or

more Plaintiffs in the anonymous postings were totally false and defamatory.

        28.     The above-mentioned false and defamatory statements, innuendoes and

implications concerning one or more Plaintiffs were published to individuals, including individuals

in Philadelphia County, who understood said statements, innuendos and implications to refer to,

and defame, one or more Plaintiffs.

        29.     Defendants knew that the vicious statements, innuendoes and implications

concerning one or more of the Plaintiffs in the above-quoted portion of their posted comments

were totally false or, if not, Defendants’ avoidance of the truth was in reckless and/or negligent

disregard of their truth or falsity.




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        30.     Defendants’ false and defamatory statements, innuendoes and implications have

severely injured each Plaintiff in that they have tended to: (a) blacken and besmirch each Plaintiff’s

reputation; (b) expose each Plaintiff to public contempt, ridicule or hatred; (c) convey the

impression that each Plaintiff engages in illegal conduct, (d) detract from each Plaintiff’s respect

in the community, (e) subject the individual Plaintiffs to severe emotional distress, mental anguish,

embarrassment and humiliation; and (f) interfere with the individual Plaintiffs’ professional life.

        31.     Each of the aforementioned false and defamatory statements, innuendoes and

implications was understood by third parties, including readers in Philadelphia County, to pertain

to, and defame, one or more Plaintiffs.

        32.     Defendants’ refusal to identify themselves in disparaging the Plaintiffs underscores

that Defendants knew they wrongfully defamed one or more Plaintiffs and sought to cowardly hide

their identities to evade the consequences of these vile acts through anonymity.

        33.     Defendants’ anonymous defamatory publications and their extraordinary efforts to

maintain their anonymity were so outrageous and malicious as to warrant the imposition of

punitive damages.

        34.     As a proximate result of Defendants’ malicious, intentional and reckless conduct as

set forth above, Plaintiffs are entitled to such damages as will compensate them for the injury to

their reputations, and for the individual Plaintiffs’ severe emotional distress, and punitive damages

to punish the Defendants for their conduct and deter them and others similarly situated from like

acts in the future.

        WHEREFORE, Plaintiffs International Brotherhood of Electrical Workers, Local 98,

Robert Bark, and Robert Thompson demand judgment, jointly and severally, against Defendants

in an amount of compensatory damages in excess of Fifty Thousand Dollars ($50,000.00) together


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with interest and costs, and punitive damages in an amount which will punish the Defendants for

their conduct and deter them and others similarly situated from like acts in the future.

                                              Respectfully submitted:

                                              LAMB MCERLANE, PC



Date: 8/20/2020                       By:     /s/ Joseph R. Podraza, Jr.
                                              Joseph R. Podraza, Jr., Esquire (ID No. 53612)
                                              jpodraza@lambmcerlane.com
                                              William H. Trask, Esquire (ID No. 318229)
                                              wtrask@lambmcerlane.com

                                              Attorneys for Plaintiffs




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                 EXHIBIT A




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From: JEANETTE BATTLE <magapie@comcast.net>
Sent: Thursday, June 4, 2020 10:58 AM
To: Anthony@iconmediaworks.com
Subject: design




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                                              !
Ant I want this pie to be th
e whole page faded in the backround




and this one in one of the top corners

that should do




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                 EXHIBITB




                                                            Case ID: 200701106
                                                DOL_LOCAL 98_02702
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For the                   Document
        guy who said he had a story to20
                                       tell Filed 07/16/21 Page 80 of 114
                                            and asked
for the FBI number here it is, 275-418-4000 then hit 0.
You will directed to and speak to a live pe rson. It
works....




Anonymous

                                                       15 JUN 2020    REPLY

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Is this the roofer Bobby Thompson uses? I heard he
goes to non-union job sites to hire contractors for his
house flipping business. ALL NON UNION of course ....
He's making a fortune off of the local You can't make
this shit up. They Must have pictures of the 3rd district
Vice President fucki ng chickens or something. SMH.




Anonymous

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  T OCK-JOHN NY- DO C-YOU A• ON · THE-CLOCK/? R EPLYTOCOM =264#AES POND)



In 1860- slavery was the key issue:
2 Democrats ran as Pro-Slavery Cand idates:
John Breckinridge: 848,079 votes received
Stephen Doug las: 1,330,202 votes received
Totals: 2,178,221 votes
l Republican Anti-Slavery Candidate:
Abraham Lincoln: 1,865,908 votes received
Tota l votes cast in the 1860 Presidential Election:
4,635,030 votes
(John Bell ran as the Constitutional Party candidat e.
He received 590,907 votes an d carried 3 states (Tenn.,
Ky, Va.)
Percentage of Vote:
Republican: 39.8%
Democrat: 47.6% (Douglas 29.5%; Breckenridge 18.1%)
By today's logic -



Today's MSM wou ld wonder if Lincoln was a legitimate
President-Elect. When compared to the total
Democrat slave supporting vote, Lincoln lost the
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                                                                                DOL_LOCAL 98_02703
popular election vote- but did win the Presidency
based on that oeskv Electoral Colleoe th inq /Lincoln
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speak to a live person. It works....
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     Anonymous

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     I guess there not that lucky ha ha




Anonymous

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Barkie you better get a lawyer. You crossed t he line this time. Federal
intimidation charges.




Anonymous

   15 JUN 2020       REPLY (HTTPS: //THE.TRUTHABOUTVOURLOCAL.COM/LOCAL98/0K-JD- HERES-TWO·

                                           QUESTIONS -YOU-CAN- ANSWER/7REPLYTOCOM•284#RESPOND)



Who is this guyThompson with the non union buisness




Anonymous

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                                           QU ESTI ONS• YOU-CAN • ANSWER/? RE P LYTOCOM •2?S#RESPON D)



Dude! I was on the job today and Phender told me Local 98 Business
Agent Bobby Bark showed up at a members house on the front lawn
and threatened him! What the F%#$! I k new Barkie was dum just not
stupid. He better get a lawyer. What a dumb ass! Is this where our local
is going! I am hearing Federal charges are coming....




Anonymous

   1S )UN 2020       REPLY (HTTPS: //THETRUTHABOUTYOURLOCAL.COM/LOCAL98/0K·JD-HERES-TWO-

                                           QUESTION S-YOU- CAN • ANS W ER/7 R EPLYTOCOM•2?0# RESPOND)


His ex bookie here. I got 500:1 he doesn't answer any of your questions. DOL_LOCAL
                                                                                                                              Case ID: 200701106
                                                                                                                            98_02704
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 "Betcha by golly WOW!" Document 20 Filed 07/16/21 Page 82 of 114




Anonymous

                                                     20 JUN 2020    REPLY

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Hey Barkie didn't you tell me that if I d idn't buy a
ticket to the Land down under party at Your buddy
Scott "KEENANS" place for 35 cash, that I would never
get a job from John again?
Even after I told you it was my kids birthday that day!
Just ASKING! Turn about is fair play.




   Anonymous

                                                    20 JUN 2020     REPLY

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      G ET· THE-TRUTH -TO-SEE · ALL-PAG ES/? R EP LYTOCOM =728# RESPOND)



   It's called quid pro quo




   Anonymous

                                                    20 JUN 2020     REPLY

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      G ET· THE -TRUTH · TO- SEE- ALL- PAGES/? RE PLYTOCO M =737# RESPOND)



   Sounds like Barkie
   Is barking up the wrong tree now




      Anonymous

                                                    21 JUN 2020    REPLY

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            ...... .. -··--::;;;.·• --· .... ..... _,, , ....
                                        ,


     Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 83 of 114
'.

             Anonymous

                                                          20 JUN 2020     REPLY

                (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK·

                                       0 N •C ET· THE·TRUTH·TO-S EE·ALL·PAC ES/?

                                                  REPLYTOCOM =687#RESPOND)



             Me too




             Anonymous

                                                          20 JUN 2020     REPLY

               (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLI CK·

                                      ON ·GET-THE-TRUTH· TO· S EE- ALL-PAGES/?

                                                  REP L YTOCOM =738#RE SPONO)



             YES WE ARE VERY INTERESTED
             YOU HAVE THOUSANDS BEHIND YOU
             WE ARE ELECTRICIANS
             NOT SOUTH PHILLY THUGS




     Anonymous

                                                         20 JUN 2020     REPLY

        ( HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK·ON·GET ·

                THE-TRUTH-TO-SE E·ALL•PAG ES/? RE PLYTOCO M = 681#RESPONO)

                                                                                               Case ID: 200701106
                                                                                   DOL_LOCAL 98_02706
     6. During the time period at issue in this Indictment,
     rlPfPnrl;:mt   l(")I-IN nn1 J(';I-IJ=RTV 11c;prl hie; rnntrnl ()\/Pr
Case 2:21-cv-00096-GAM   Document
       lord knows John wouldn't let a 20
                                      manFiled 07/16/21
                                          of color in   Page 84 of 114
          his house!
          He selectively lets them into the building
          trades.
          You w ill always see a token in a publicity photo.
          John doesn't understand that we are all
          human!




Anonymous

                                                        20 J U N 2020   REPLY

    (HTTPS :/ /WWW.TRUTHABOUTYOURLOCAL. COM/LOCAL98/CLICK• ON•GET-

             TH E• TR UT H-TO• SE E-ALL- PAG ES/? RE PLYTOCOM = 665# RES PON 0)

                                                                                              Case ID: 200701106
                                                                                  DOL_LOCAL 98_02707
BRIAN BURROWS
wi llf1 di\/ m;:irlp ;:inrl c:;11hc:;rrihPrl l lnitPrl <:;t;:itpc:; inromP
   (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK- ON - GET-
                                                     1229miL#comment-885}.
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 85 of 114
           TH E-TRUTH -TO-SE E-ALL-PAG ES/? RE PLYTOCO M =BBS# RES POND)
                                                                                 Anonymous on CLICK ON GET

I doubt La rry is homosexual. But who gives a shit.                              THE TRUTH TO SEE A LL PAGES
Really he worked his ass off for the good of the local.                          1b.ll.Qs:/Lwww.truthabout!ourloc
Take the shirt off his back for ya. Take shots at work                           &Ql]}~/click-on-9.tl:
ethic but really u attach if someone is different than u.                        the-truth-to-see-all-

Guessing ur not a fan of African Americans either.                               gages/#com me nt-884l

Smh
                                                                                 Anonymous on CLICK ON GET
                                                                                 THE TRUTH TO SEE ALL PAGES
                                                                                 .{https: / ~.truthaboutyourloc

Anonymous                                                                        al.com/local98/click-on-get-
                                                                                 the-truth-to-see-al l-
                                                    21 JUN 2020   REPLY
                                                                                 gages/#comment-883).
   (H TTPS://W WW. TRUTH ABOUTYOU R LOCAL. COM/LOCAL98/C LIC K- 0 N •GET-

           TH E-TRUTH-TO-SE E-ALL-PAG ES/?R EPLYTOCOM =884#R ES PON 0)           Anonymous on Dear Mr.
                                                                                 Business Manager
Can someone please explain why the infatuation w                                 1b.np~/www.truth aboutyou rloc
fumo                                                                             al.com~Ldear-mr-
                                                                                 business-managfilL#comment -



Anonymous                                                                        Anonymous on Dear Mr.
                                                                                 Business Manag.er
                                                    21 JUN 2020   REPLY
                                                                                 1~//www.truthaboutyourloc
   (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK-ON- CET-
                                                                                 al.comLlocal98/dear-mr-
           TH E·TRUTH-TO-SE E-ALL- PAG ES/7R E PLYTOCOM=B79#RES POND)
                                                                                 business-manager/#comment-
Happy Fathers day Bark. Oh wait do you even see or                               filll).

interact with your kids any more? From what I hear
they hate your guts. Hope you have a great Father's
Day by yourself loser




   Anonymous

                                                    21 JUN 2020   REPLY

       (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK-ON-

      C ET· THE-TRUTH-TO-SEE-ALL-PAGES/? R EPLYTOCOM=880# RESPON 0)



   Nice. Are you always this angry?




   Anonymous

                                                    21 JUN 2020   REPLY

      (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK-ON•

      C ET·THE-TRUTH· TO •SE E·ALL-PAC ES/? R EPLYTOCOM =883#RES POND)

                                                                                        Case ID: 200701106
                                                                            DOL_LOCAL 98_02708
   Damm. C'mon guys not the guys kids. Low shit is
   nk Nnt thi:> kirlc;
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 86 of 114


        Anonymous

                                                     21 J"UN 2020   REPLY

           (HTTPS://WWW.TRUTHABOUTYOURLOCAL. COM/ LOCAL98/CLICK-

                                 O N· GET-THE· TA UTH - TO-SEE -ALL-PAGES/?

                                            AEPLYTOCOM =793#RESPOND)



        Barkie is too busy tying on a load. How many
        DU l's are we up too now?




Anonymous

                                                     20 JUN 2020     REPLY

   (HTTPS://WWW.TAUTHABOUTYOUALOCAL.COM/LOCAL98/ CL ICK- ON-GET•

            THE · TAU TH-TO-SEE- All-PAGE S/?A EPLYTOCOM =703# A ES PON Dl



If you know anyone having trouble connecting to site
it is now truthaboutyourlocal.com




    Anonymous
                                                     20 JUN 2020     REPLY

       {HTTPS://WWW.TAUTHABOUTYOUALOCAL.COM/LOCAL98/CLICK-ON -

       G ET·THE- TRUTH· TO-SE E·ALL-PAG ES/?A EPLYTOCOM =?0S#A ESPON D)



    Let's be clear this site doesn't come from
    members.
    It comes from Larry Despeccio who is a known
    homosexual.
    Furno who lies to everyone about being Mensa ...
    ever seen proof?
    And Brady who saved his OWN ass sending his
    OWN staff to prison.
    This is political plain and simple.
    Everyone is innocent until proven guilty and
    everyone will have their opportunity in court.
    Cowards.


Anonymous
                                                     20 JUN 2020     REP LY

   (HTTPS://WWW.TAUTHABOUTYOUALOCAL. COM/LOCAL98/CLICK· ON - GET•

            THE-TA UTH •TO- SE E· All -PAG ES/? RE PLYTOCOM =702# RESPOND)

                                                                                          Case ID: 200701106
                                                                              DOL_LOCAL 98_02709
Lots of eye opening conversation here. I'm not for
r;:illinn Ani=>ntc; ni 1t hv n;:imi:, in ;:in Annnvmni 1c; f;:ic;hinn
call Doc and his codefendants crooks, thiefs and liars
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 87 of 114
guity of crimes. Less comments say Doc is a good guy
and made the union great. Then other comments are
off point about Brady, Furno and Larry. The first group
are adamant about thei r comments and provide
passion w ith documentation and proof to back up
their comments. The second group are also adamant
with their comments but they are
abstract comments. What is a good guy.where is the
innovation .. .what d id he do another couldn't have that
makes him a great leader? What the second group
has rairly said and not so adamant about is that Doc is
innocent. This to me is very telling. Early on we did
hear from Doc but no claim of innocence or
explaination of the tough questions. Another telling
sign. Give an explanation why 2 years worth of lm2s
are late and Ganter. What is Doc's plan ...give an
explanation to the Feds and not the membership. We
deserve the explanation before the Feds. If your
explanation won't fly with us it most certainly will
never fly with the Feds or jury. Now about the third
group. The third group is a spin off of the second
grou p using the time proven Doc tact ic of talking and
saying nothing relevant. We have caught this act for
years. It gets boring and only helps convince people
more they are really trying to run from and hide
something. More hits, more comments, more
questions., more pressure will definitely drain the
swamp and make Local 98 great again




    Anonymous

                                              22 JUN 2020    REPLY

       (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/HEY-SHIT-

                               M ITTS/? REP LYTOCOM = 936# RESPOND)


    What the Fuck is Mensa?




Anony m ous

                                              21 J UN 2020   REPLY

 (HTTPS://WWW.TRUTHABOUTYOURLOCAL .COM/LOCAL98/HEY-SHIT-MITTS/?

                                      REPLYTOCOM = 899#RESPOND)



Bobby Thompson , is rumored to be our Business                                    Case ID: 200701106
                                                                      DOL_LOCAL 98_02710
Representatjve trying to secure f air working and
standards on all job sites but his own. With the
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 88 of 114
permission of the Business Manager Bob h ires
Mexicans to dig out basements and n on union
contractors to renovate flip houses while charging his
time to the Local Union.
He's proud to tell members that he along with his
partner, whose wife works in the unions business
office, are making upwards of 400k on a flip!
Things are good in this Union, but only for a select few!




    Anonymous

                                                21 JUN 2020   REP LY

        (HTTPS://WWW.TRUTHABOUTYOURLOCAL,COM/LOCAL98/HEY·SHIT-

                                 M ITTS/? REPLYTOCOM = 900#RESPON 0)



    That's so f unny, I have a buddy that lived next door
    to one of Bobby Thompson's flips. What you read is
    true.
    His non union contractors drilled holes in Bobby's
    party wall and they came right through to my
    buddies house.




        Anonymous

                                                21 JUN 2020   REPLY

            (HTTPS: //WWW.TRUTHABOUTYOURLOCAL .COM/LOCAL98/HEY-

                             SH IT- M ITTS/?REPLYTOCOM=901#RESPOND)



        I know that Tin Knocker also, he complained to
        Bobby, and Bobby pulled the don't you now
        who the fuck I am card! I work for John
        Dougherty, go ahead and call L & I, John owns
        L&I and Jim Kenny! What a blowhard this guy
        is. If it were me I would have kickednis ass.




Anonymous

                                                21 JUN 2020   REPLY

 (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/HEY- SHIT- M I TTS/?

                                        REPLYTOCOM = 888#AESPOND)



Nico Rodriguez, is it true that you have been stealing                             Case ID: 200701106
                                                                       DOL_LOCAL 98_02711
time and money from the General Fund and the PAC
Case 2:21-cv-00096-GAM        Document
      (HTTPS: //WWW.TRUTHABOUTYOURLOCAL   20 Filed 07/16/21 Page 89 of 114
                                        .COM/LOCAL98/DEAR-MR·

                 BUSI N ESS-MANAGER/?RE PLYTOCO M=l 250#RESPO ND)



   True Naxis at work.




Anonymous

                                                23 JUN 2020    REPLY

      {HTTPS: //WWW.TRUTHABOUTYOURLOCAL .COM/LOCAL98/DEAR-MR-

                 BUSI N ESS - MANAGER/'?RE PLYTOCOM=l208#RESPOND)



Keep it up DOC-THIS IS WHAT THE MEMBERS NEED
TO SEE!
GOOD WORK FRANKIE!! GOOD WORK




Anonymous

                                                23 JUN 2020    REPLY

      (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/DEAR-MR•

                 BUS IN ESS•M AN AGE R/7 RE PLYTO COM =1148#RESPON D)



LETS SEE IF WE CAN HAVE 100,000 HITS OF THIS SITE
BY THE END OF THE MONTH




   Anonymous

                                                23 JUN 2020    REPLY

      {HTTPS: //WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL9B/OEAR·MR -

                 BUSINESS-MANAGER/'?REPLYTOCOM:c1205#RESPONO)



   Fuckin Doc Nazis




   Anonymous

                                                23 JUN 2020    REPLY

      (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/DEAR-MR-

                 8 US IN ESS- MANAG ER/? RE PLYTOCOM =1206#RES PON DJ



   Another Dougherty lowlight blocking free speech.
   First elections. Now this


                                                                                    Case ID: 200701106
                                                                        DOL_LOCAL 98_02712
Anonymous
·-·. -·--··---·. -·,.------ -· ·- ..- . -·--· __ --··---· .. -··-
                                                ,.._..

Case  2:21-cv-00096-GAM
Sporting   Event Tickets           Document 20 Filed 07/16/21 Page 90 of 114
17. The following overt acts are representative of
expenditures in which defendant JOHN DOUGHERTY
used and approved the use of Local 98 funds to
purchase concert and sporting event tickets for family
members, friends, and favored associates without any
legitimate Local 98 business-related justification:




   Anonymous

                                                         23 JUN 2020   REPLY

      (HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK- ON -

      GET-TH E-TRUT H-TO-SE E-ALL-PAG ES/? R EPLYTOCO M=lllS# RESPOND)



   I'm one of the few women journeyman. This
   website is awful. It's hard to be a woman trades
   member. Do you want to know how hard? Ed
   Neilson raped me in 2002. I'm g oing to tell my
   story




       Anonymous
                                                         23 JUN 2020   REPLY

          (HTTPS://WWW.TRUTHABOUTYOUR LOCAL.COM/LOCAL98/CLICK-

                                 ON-G ET-THE-TRUTH - TO- SEE -ALL- PAGES/?

                                             REPLYTOCOM =lll7#RESPON D)



       I would believe you, but Ed is a great guy!
       Eddie Neilson, couldn't rape a doughnut!
       Move on, didn't you hear ME TOO is cancel led
       and we are on to BLM! Fight the fight sista!




   Anonymous

                                                         23 JUN 2020   REPLY

      (HTTPS ://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLI CK-ON-

      G ET·THE-TRUTH-TO - SEE · ALL-PAG ES/?R EP LYTOCOM =lll 6#R E SPO N DJ

                                                                                           Case ID: 200701106
                                                                               DOL_LOCAL 98_02713
   YOUR EXECUTIVE BOARD APPROVED THIS!
   n1<:r.RArr=i=t JI
Case 2:21-cv-00096-GAM Document 20   Filed 07/16/21
                                 24 JUN 2020 REPLY     1b.llQs://www.truthaboutyourloc
                                                    Page  91 of 114
     {HTTPS://WWW.TRUTHABOUTYOURLOCAL. COM/LOCAL98/BE-PATIENT-             al .comLloca 198l!:l.§y..:JY.i n-
                  COM ING• BACK-SOON /7REPLVTOCOM:1858#R ES POND)          bri an/#com m ent-2185).


The Dougherty thief team is scared shitless of                             Anonymous on What JOHN

you ....the more you know the dirtier he gets that why                     DOUGHERY doesn't want }!QY.

all the effect to shut free speech down                                    toKNOWI
                                                                           .(hll.~/www.truthaboutyourloc
                                                                           al.com/local98/click-on-get-
                                                                           the-truth-to-see-a I1-
                                                                           gag es/#com ment-2184l

                                                                           Anonymous on What JOHN
                                                                           OOUGHERY doesn't want you
                                                                           to KNOWI
                                                                           1htt~Lwww.truthabou!,Y.ourloc
                                                                           al.com,/local98,/click-on-gfil::
                                                                           the-truth-to-see-all-
                                                                           r;iag_g_s/#comment-2183)

                                                                           Anonymous on What JOHN
                                                                           DOUGHERY doesn't want )!O.l.!.
                                                                           to KNOW!
                                                                           1httQ..s ://www.truthaboutyourloc
                                                                           al.com/local98/click-on-get-
                                                                           the-truth-to-see-al l-
                                                                           r;iaQ§/#comment-2182)




Anonymous

                                                21 JUN 2020   REPLY

     (HTTPS: //WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/BE-PATIENT•

                  COMING·BACK- SOON/7REPLYTOCOM"92S#RESPONO)

                                                                                  Case ID: 200701106
                                                                      DOL_LOCAL 98_02714
This site is averaging around 4000 hits a day. I don't
knrn,v hrM/ m::inv rnmrnPntc; h11t   ::i   Int nf rnmrnpntc;
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 92 of 114


   Anonymous

                                                   25 JUN 2020      REPLY

     (HTTPS:/ / WWW.TRUTHABOUTYOURLOCAL .COM/LOCAL98/CLICK- ON-

     G ET-TH E-TRUTH-TO-S EE-AL L -PAGES/? REP L YTOCOM =214l#RE SPON D)



   This guy is hurting the entire IBEW nationwide by
   hanging around. His bullshit is going to be
   brought up by every non union contractor
   nationwide on why they don't join unions.
   Organizers hear this shit everyday and it just
   makes it so much harder. He is aiding and abetting
   the non union with his actions




      Anonymous

                                                   25 JUN 2020     REPLY

         {HTTPS://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK-

                               O N - G ET-THE -TRUTH-TO-SE E·AL L· PAGES/?

                                         RE P LYTOCOM =2148# RESPOND I



      The only person responsible for a II of the is
      JOHN J. DOUGHERTY JR.
      TRUTH REALLY DOES HURT
      Be kind, spay or neuter your animals!




      Anonymous

                                                   25 JUN 2020     REPLY

        ( HTTPS: //WWW.TRUTHABOUTYOURLOCAL . COM/LOCAL98/CLICK·

                               0 N. GET-THE-TR UTH-To-s EE-ALL-PAGES/?

                                          REPLYTOCQM:21Sl#RESPONO)



      Todd neilson stole 240k from the financial
      office




      Anonymous

                                                   25 JUN 2020     REPLY

        [HTTPS:I/WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CLICK•

                               ON - GET-THE -TRUTH-TO - SEE- ALL- PAGES/?

                                          REPLYTOCOM =2177#RESPON D)                     Case ID: 200701106
                                                                             DOL_LOCAL 98_02715
      lnhn ~Pt thP l lninn mrntPrnPnt h;:irk ;:i h11nrlrPrl
consultants harassing someone for their sexua lity I
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 93 of 114
have the fucking pies I'll go to NBC ur fucking pissing
me off.




Anonymous

                                                  25 JUN 2020      REPLY

      (HTTPS://WWW.TAUTHABOUTYOUALOCAL .COM/LOCAL98/JOHN-ITS-

                      A UM OA ED •TH AT· YOU A·A- BI G·GAM BL ING - MAN/?

                                        AE P LYTOCOM =1968#AES POND)



Now we employ crooks and people who hate
homosexuals....this is disgusting




Anonymous

                                                  25 JUN 2020      REPLY

      ( HTTPS://WWW.TAUTHABOUTVOUALOCAL. COM/LOCAL98/JOHN-ITS-

                      RUMOAED•THAT·YOUA•A•BIG•GAMBLING•MAN/?

                                        AEPLVTOCOM=1965#AESPOND)



If it was Frank Keel who made those comments while
work ing for 98 we need to know...that sht best be
made public.




Anonymous
                                                  25 JUN 2020      REPLY

      (HTTPS://WWW.TAUTHABOUTYOURLOCAL.COM/LOCAL98/JOHN·ITS·

                      RUM O A ED -THAT• YOU A-A- Bl G · GA M BLI NG· MAN/?



                                                                                         Case ID: 200701106
                                        REP LYTOCOM =1959#RESPO ND)

                                                                             DOL_LOCAL 98_02716
Dear FBI.
Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 94 of 114
IN ALREADY




Anonymous

                                                      28 JUN 2020     REPLY

   (HTTPS ://WWW.TRUTHABOUTYOURLOCAL.COM/LOCAL98/CON-TO- CON/?

                                             REP LYTOCOM =2316# RESPOND)



60k hits by the end of the day. All started by one text
message between 3 or 4 guys. Power shift back to the
members where it belongs. If there were ever a fair
election where canidates could be nominated without
intimidation and voters could vote without fear
Dougherty and his entire team would be on the out of
work list. IT SURE WOULD BE GREAT IF THE DOL
STEPPED IN AND HANDLED NOMINATIONS THE
RIGHT WAY PLUS CONDUCTED THE ELECTION IN A
NEUTRAL PLACE WITH DOL AS OBSERVERS AND
VOTE COUNTERS




   Anonymous
                                                        2 JUL 2020    REPLY

        (HTTPS://WWW.TRUTHABOUTYOURLOCAL. COM/LOCAL98/CON-TO-

                                      CON/? REPLYTOCOM=2649#RESPO ND)



   They already did in 2014                                                               Case ID: 200701106
                                                                              DOL_LOCAL 98_02717
   Rocks was the only one that stood up and did
   c:nrn&:>thinn Th&:>\/ tr::ic:h&:>r! hirn ::1nrl tri&:>rl tr, rt 1in hie:
John 2:21-cv-00096-GAM
Case Dougherty, Bobby Bark, Mark Lynch
                        Document   20 and
                                       Filedothers
                                             07/16/21 Page 95 of 114
intimidated potential candidates into not going thru
w ith the nomination process.
y o u remember when you got on the phone with mark
and said if you go through with this the next three
years will be hell. ... really you had to get ed cop off his
couch to indimidate his own nephew PATHETIC John.
Question: is interfering in union elections a chargable
offense. Your racking them up.
By the way why does everybody keep talking about
russians and human traficking? can you get on here
and exp lain to the membership why you and the
international vice president okayed this?




Anony m ous

                                                29 JUN 2020   REPLY

(HTTPS://WWW.TRUTHABOUTYOURLOCAL. COM/ LOCAL98/ THE- INDICTMENT/?

                                        REP LYTOCOM=2354#RESPONDJ



I am only a dumb electrician when the federa l
government says that John Dougherty "DOUGHERTY
used this control, and a variety of methods,
to repeated ly and persistently stea l from Local 98 and
put his own self-interests over that of the
membership of the union. He used Loca l 98 as his
persona l bank account and as a means to
obtain employment for himself, h is family, and his
friends" , doesnt that mean that he STOLE from the
Members?
I am confused to you point" already out there.
He STOLE from the members who trusted him and
the Internationa l is covering it up.
Stay tuned same bat t ime same bat channel. JOKER!




Anonymous
                                                29 JUN 2020   REPLY

( HTTPS://WWW.TRUTHABOUTYOUR LOCAL .COM/ LOCAL98/THE- INO I CTMENT/?

                                        REPLYTOCOM =2349#RESPOND)
                                                                                   Case ID: 200701106
                                                                       DOL_LOCAL 98_02718
The 2016 lm2 isn't leqitimate? The 116 paqe
         Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 96 of 114




                                         VERIFICATION

         I, Robert Thomson, am a plaintiff in the subject action, and verify that the statements in

the foregoing document are true and correct to the best of my knowledge, information, and

belief. I do further understand that these statements are made subject to the penalties of 18

Pa.C.S. Sec. 4904, relating to unswom falsification to authorities.




Date /         1




                                                                                      Case ID: 200701106
                                                                          DOL_LOCAL 98_02719
        Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 97 of 114




                                         VERIFICATION

       I, Robert Bark, am a plaintiff in the subject action, and verify that the statements in the

foregoing document are true and correct to the best of my knowledge, information, and belief. I

do further understand that these statements are made subject to the penalties of 18 Pa.C.S. Sec.

4904, relating to unsworn falsification to authorities.




Date                                                  Robert Bark /




                                                                                     Case ID: 200701106
                                                                         DOL_LOCAL 98_02720
       Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 98 of 114




                                         VERIFICATION


        I, Jack O'Neill, Esquire, state that I am authorized to take this Verification for plaintiff

IBEW, Local 98 in the subject action, and verify that the statements in the foregoing document

are true and correct to the best of my knowledge, information, and belief. I do further understand

that these statements are made subject to the penalties of 18 Pa.C.S. Sec. 4904, relating to

unsworn falsification to authorities.




Date




                                                                                      Case ID: 200701106
                                                                          DOL_LOCAL 98_02721
       Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 99 of 114




LAMB McERLANE PC
Joseph R. Podraza, Jr., Esquire (ID No. 53612)
William H. Trask, Esquire (ID No. 318229)
One South Broad Street – Suite 1500
Philadelphia, PA 19107
(215) 609-3170
(610) 430-8000                                                Attorneys for Plaintiffs

                                                 :
 IBEW, LOCAL 98, ROBERT BARK, And                :
 ROBERT THOMPSON,                                :
                                                 :    IN THE COURT OF COMMON PLEAS
                            Plaintiffs,          :    OF PHILADELPHIA COUNTY
                                                 :
                       v.                        :    Trial Division
                                                 :
 CHARLES BATTLE, JEANETTE                        :    July 2020 Term
 BATTLE, ADMINISTRATOR                           :
 www.thetruthaboutyourlocal.com                  :    No. 001106
 www.truthaboutyourlocal.com,                    :
 COMMENT,                                        :
 www.thetruthaboutyourlocal.com                  :
 www.truthaboutyourlocal.com, et al.,            :
                                                 :
                            Defendants.          :
                                                 :


                                  CERTIFICATE OF SERVICE
       I hereby certify that on this 20th of August, 2020, I caused a true and correct copy of the
foregoing pleading to be served via the Court’s electronic filing system upon the following
counsel of record:

       Clifford E. Haines, Esquire
       Haines & Associates
       1339 Chestnut Street
       The Widener Bldg – 5th Floor
       Philadelphia, PA 19107
       chaines@haines-law.com
       Attorney for Defendants Charles and Jeanette Battle

                                                       LAMB McERLANE PC

                                             By:        /s/ Joseph R. Podraza, Jr.
                                                       Joseph R. Podraza, Jr., Esquire

                                                 12
                                                                                    Case ID: 200701106
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     Exhibit 9
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                                                                      STATEMENT

             I, James Ryan, residing at    2' I 1. L;cL'c c, Av( -ty :(        i, fl/I- /'1. // '7               /Ii,
             make the following voluntary statement to Angela B. Menges and _[~;-l-~~-1. ......
                                                                                         t\~~-·1t-_,_____
             who have identified themselves to me as Investigators of the Office of L~botMapagement
             Standards, U.S. Department of Labor. Investigators Menges and ( \ ~ (,l, \ ':>'- \
             have advised me that they are conducting an official investigation for tge U.S. Department of
             Labor, Office of Labor-Management Standards, pursuant to the Labor-Management Reporting
             and Disclosure Act of 1959 (LMRDA).


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             I declare under penalty of perjury that the foregoing statement consisting of_\_ page(s), each
             of which I have initialed, is true and correct.


                             Date
                                                            ~


                                           Signed at:     QLMS ~- }! 35 ~ _ f ~ ~                                                   /llwfu/4(4/4Jt" I'll /t/(03
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 Exhibit 10
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I, Ken»eth Rocks, Jr., make th~ following voluntary statement to Angela B. Menges and
     f<t i ~ [)4 l! /t Is/L I            who have identified themselves to me as Investigators of
the Offic~ of L;;1bor-Management Standards, U.S. Department of Labor. Investigators Menges
and C 1 -e kt ls.,t.,            have advised me that they are conducting an official
investigation for the U.S. Department of Labor, Office of Labor-Management Standards,
pursuant to the Labor-Management Reporting and Disclosure Act of 1959 (LMRDA).



I, Kenneth Rocks, Jr., have personal knowledge of all of the facts in this statement.
                                                                                        2016
I am employed as an electrician. I have worked for McGoldrick Electric since March ------
                                                                                   2015. I
have been a member of IBEW Local 98 since 2000.

In 2014, I was being very critical of Local 98 Business Manager John Dougherty during
membership meetings leading up to the officer election that year. I was working for Union
Electric at the time. My project manager at Union Electric was Doug Smith. Dougherty told
Smith he wasn't happy with me, and Smith told me. Dougherty talked to Smith about removing
me from my position.

Dougherty told me, "If you don't like how my executive board is running things, then run for
executive board." Nominations were held on May 6, 2014. I tried to run, but I was improperly
disqualified as a candidate. The local ruled me ineligible due to my alleged failure to maintain
continuous good standing for a period of two years prior to the nomination meeting and because
I pled guilty to simple assault in 2002. I appealed the local's decision to the international. The
international ruled in my favor on the continuous good standing issue but against me on the
Section 504 issue. The incumbent officers were elected by acclamation on May 30, 2014. I filed
a complaint about the election with the Secretary of Labor on June 18, 2014.

The Department of Labor investigated my election complaint and found that Local 98 violated
the LMRDA when it disqualified my running mate Kevin O'Sullivan and me from running for
office. The union signed a voluntary compliance agreement with OLMS on August 25, 2014, and
held a rerun election supervised by OLMS on November 1, 2014. O'Sullivan and I ran for
executive board but were defeated.

Dougherty did not want me to run for office. On or around   1/~r, I -do I')            (date),
Dougherty had me removed from my position with Union Ele tric. I was told, "Bring your truck
back, you're done." Smith, my project manager, ~st gave ml the explanation, "You can't work
here anymore." I had worked for Union Electric ~ w f i an apprentice and was there for five
years. I went everywhere for them and was probably their number two foreman, and then I was
gone. I was out of work for 10 months. During that time, Smith invited me to a Philadelphia
Flyers hockey game. Smith and I sat together, and I asked Smith if he was taking me back. Smith
told me, "You know I can't."

Local 98 members are allowed to solicit their own jobs, and the local also has a referral system.
But during those 10 months, Local 98 business agents were going around to foremen saying,




                                                                                  DOL_LOCAL 98_00419
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 "You're friends with him?" meaning me. Everyone, including foremen, told me, "I can't hire
 you." Ron Sefransi ( unsure of spelling) with Kola Electric told me he could not hire me. Sefransi
 told me that Larry Thomson, the owner of Kola Electric, told Sefransi this.

 Dougherty did this because he did not want me to run for office. Dougherty and the other officers
 don't want transparency or another set of eyes because the executive board approves everything.
 The treasurer signs off on the LM forms. None have been filed since 2017. I think they're not
 filing them because they know it's illegal to lie on it.
                                   2016
 One day in February or March 2015,------ I found out that another member, Tom Bunratty (unsure of
 spelling), got sent out for a job ahead of me. At that time there was a document titled "Available
 for Work List Rules-IBEW Local 98, Philadelphia, PA 19103 -July 22, 2014," which outlined
 the rules for sending members out to jobs. I was in the 50s on the list, and Bunratty was in the
 90s, so I should have been sent before he was.

 I confronted Business Agent Ed Coppinger, saying, "You have my contact info?" Coppinger
 asked me why and I responded, "Did I miss your call? You sent a guy out in the 90s, I'm in the
 50s. What's going on?" Coppinger and I got into a shouting match. Doughe1iy then called me
 and told me, "I'll get you a job." The next day I was working at the Philadelphia Convention
 Center. Recording Secretary Michael Mascuilli was the project manager at the convention center
 at the time. The following weekend, I was sent to work for McGoldrick Electric. I have been
 working for McGoldrick since March ------
                                        2015. Dougherty doesn't give jobs out. He had Coppinger
 do that to calm me down.                2016

 I was also subjected to other forms of intimidation, harassment, and retaliation by Dougherty and
 other officers of the local throughout the initial election and the OLMS-supervised rerun
 election. I believe they did this to pressure me not to run and to suppress members' votes.
 Business Agent Bob Bark told me, "You run, you're throwing your career away." On the night
 of the nomination meeting, Business Agent Rodney Walker told me ifI ran it would be "career
 suicide."

Dougherty also used the local' s trial board to pressure me not to run by bringing me up on
charges in a kangaroo court. Dougherty's charges were read out at the March 2014 membership
meeting, but he did not actually prefer charges against me until June 13, 2014. The trial board
hearing was held on June 19, 2014. The charges stemmed from a threat I made to Dougherty on
November 20, 2012, after my neighbor saw three individuals, including Local 98 Business Agent
Mark Bennett, show up at my house, bang on my door, and peek through my windows while I
was not home. I sent Dougherty a Facebook message that included these lines: "Send your toads
after me. I got one for them on my hip. I'm not playin' ." I was found guilty of all charges and
was notified via letter dated June 27, 2014, that a $50,000 fine was levied against me.

  I challenged the charges by appealing the ruling to IBEW 3rd District International Vice
  President (IVP) Donald Siegel by letter dated August 10, 2014. The local did not follow the rules
  with regard to filing charges against me. According to the constitution and bylaws, charges must
· be filed within 60 days, but Dougherty filed them two years after the incident. Doughertyu1led.,,,   .
  the charges just to make me stop trying to run for office and go away, but it didn't work.     . ""'
                                                                                    Initials: , ,,
                                        ·                                               Page 2 of 4


                                                                                  DOL_LOCAL 98_00420
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Dougherty formally withdrew the charges by letter dated November· 3, 2014, two days after I lost
in the supervised election. IVP Siegel notified me of the withdrawal via letter dated November
17, 2014. The following January, I was refunded the $240 in installment payments I had made
toward the $50,000 fine.

During the supervised election, Dougherty told Pennsylvania State Representative Mike Driscoll
that Doughe1iy was going to hurt me in the pocket. Driscoll is my uncle through marriage; he is
married to my father's sister. Driscoll relayed Dougherty's message to my father, Kenneth
Rocks, Sr., who relayed the message to me. My father has since passed away. The staff of the
local also pressured my father and Driscoll to have me drop out during the original election,
when I protested my disqualification. Driscoll and I exchanged text messages regarding
Dougherty's comments. Driscoll told me that Dougherty's comment was taken out of context. I
stated, "What other context could there be?" I knew Dougherty was referring to me running for
office. Driscoll mentioned to me, "He gives us a lot of money for our campaign." I explained to .
Driscoll it was not Dougherty giving him money; rather, it was the Local 98 membership giving
him money.

Around October 30, 2014, Dougherty sent a letter to the membership claiming I beat my wife
and didn't take care of my kids, which was not true. The letter looked like campaign literature
and had a return address of "Five for the Future." It listed a history of my criminal record and
civil proceedings. They also went around and put bumper stickers stating "Rocks beat his wife"
and ~Rocks did not pay for his kids" on poles up and down the streets around the union hall. My
wife and I are now divorced and I have full custody of my children.

During the supervised election, I was permitted to have three observers but had only two: John
Fahey and Je1Ty Ridlon. Richie Kee was supposed to be my third observer, but he backed out
after being intimidated. Kee was told, "You do this, and your career is over."

I did not complain to OLMS about the harassment I experienced during the supervised election
because I did not want to be a sore loser. The union said I was costing us $50,000 to rerun the
election. I did not want to face more harassment or cost the local any more money by
complaining to OLMS.

In the 2020 election, Bark and Kee went to member Charles Battle's house to pressure him out of
running. Bark wanted Battle to go away and not run. Bark didn't do this on his own; I think
Dougherty told him to. Bark and others like him will do whatever Dougherty says because they
depend on him for work. Battle and I don't need the hall to get a job. It's neighborhood
politics-it's not going to change. Dougherty is the handler. If you go against what he says, he'll
crush your career.




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                                                                                      Page 3 of 4


                                                                                DOL_LOCAL 98_00421
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I declare under penalty of pe1jury that the foregoing statement consisting of four pages, each of
which I have initialed, is true and correct.   "

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            Date     ,

       /C['ZGkc-7-,z/
            Date (                                               Witness Signature

                         Signed at:       c}lJV\S        I<} 3 s- /l/1.,{,~it-ef St; f'/1,/t«,4/f'l1,,,i;:, ;f'A
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              PARTICIPANT MONTHLY HI STORY - INQUIRY
soc.sec.Nbr                  UID#
       KENNETH ROCKS                                               Total Hours              1949 .00
                                                                   Total wages            126551.04

                                                          Curr we'lfare Stalus
 Birth Date                  Phone
                                                                   Hours
    Month Rpt          Empl oyer                     Grp R/L Worked            Wages
    8/ 202011]]][      566I MCGOLDRICK   ELECTRIC    ~flIDI       160 .0011 12146 . 801
    8/ 20201[=1] [     5661 MCGOLDRICK   ELECTRIC    @[ID[         56 . 0011 4201. 761
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  Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 109 of 114


              PARTICIPANT MONTHLY HISTORY ... INQUIRY
soc.sec .Nbr = == =        UID#
       KENNETH ROCKS                                        Total Hours              3796 .00
                                                            Total wages            243402 .49

                                                       Curr Welfare Status
Birth Dat e                Phone
                                                            Hours
    Month Rpt        Employer                    Grp    R/L worked      Wages

    9/201910![ 5661 MCGOLDRI CK      ELECfRIC    @l[!§][ 18.0011 1076.221
    8/ 20191[ 11 1 S661MCGOLDRICK    ELECTRIC    ~D]][ 239 . 001 1 17826 .421
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. IBEW LOCAL 98 HW




                                      PARTICIPANT MONTHLY HISTORY - INQUIRY
                     soc. sec . Nbr ·               uID#
                              KENNElli ROCKS                                       Total Hours               5442 .00
                                                                                   Total wages             343703 . 39

                                                                            Curr \ve I fare Sta Lus
                      Bi r th Date                  Phone
                                                                                  Hours
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                 PARTICIPANT MONTHLY HISTORY - INQUIRY
soc. sec. Nb r
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         KENNETH ROCKS
                             UID#
                                                                Total Hours              7096 . 50
                                                                Total wayes            443407.62

                                                       Curr we·1fare status
 Birth Dale                  Phone
                                                                Hou rs
      Month      Rpt   Empl oyer                   Grp R/L Worked           Wages

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    112;20171r n 1     5661 MCG0LDRIO< ELECTRIC    ~[]]JI 80. 001 1 4680. 001
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                 PARTICIPANT MO NT HLY HISTORY - IN QUIRY
soc. sec . Nbr j_               UID#
          KENNETH ROCKS                                               Total Hours                8801 . 50
                                                                      Total wages              540470 . 56


 Birlh Dale

        Month Rpt
                    -           Phone •

                          Empl oyer
                                                           curr we 1fare status

                                                               Hours
                                                      Grp R/L Worked               \rvages

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       Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 113 of 114




                    PARTICIPANT MONTHLY HISTORY - INQUIRY
      soc .sec .Nbr [            ] UID#
              KENNETH ROCKS                                        Total Hours               9648 . 50
                                                                   Total wages             586716 .87

                                                             Curr we 1rare st aLus
       Birth Date -               Phone
                                                                   Hours
            Month Rpt       Empl oyer                    Grp R/ L worked       wages

          I 6/2016[120011    5661MCGOLDRICK ELECTRI C    @!□ I 184 .0011 10062 . 961
          I S/ 2016H20lll    5661MCGOLDRICK ELECTRIC     @! □ [ 120 .0011   6 562:::::@]
          I 5/20161[ 20011 5661MCGOLDRICK ELECTRIC       ~DI 32 .0011       1691.201                     N
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                 Case 2:21-cv-00096-GAM Document 20 Filed 07/16/21 Page 114 of 114
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                           PARTICIPANT MONTHLY HISTORY - INQUIRY
            soc. sec. Nbr __                J UID#
                    l(ENNETH ROCKS                                                                 Tovd Hou r ~                   10386 . 50
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            iri n h Dale                      Phone
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               1.·~1~~)J.4.Jl?.t.TqJ[1I<2rn uNroN ELecrRrc coNm r:~~l[_ ] [ .-~~~·:.9_QJ[:.J.zlJ.JJJ
               l"~!r/?1t1={l[2.f.m1r) o16] LOCAL 269 HEALTH & w l<='NIJ-.] [ :-.. J~.'.5..Qlr ·--·~g.f -tEYJ
